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      Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 1 of 73 PageID #:89

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                      IN THE UNITED STATES DISTRICT COURT                        MAy   s   sz[tg   o/
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                                                              T+{CIMAS G. BRUTON
Kevin Wheeler,                                                             CLERK, U.S. DISTRICT COURT


                      Plaintiff,
                                                    16Cv5591
v.
                                                    JUDGE GUZMAN
                                                    MAG JUDGE ROWLAND
Dynamex Operations East, lnc.,

                      Defendant.

                                          COMPLAINT

Plaintiff Kevin wheeler, pro-se, does hereby allege and states as follows:

                                         INTRODUCTION

     1. This is an action   under the Fair Labor Standards Act, 29 U.S.C. SS 201 ef seq.,

        the lllinois Wage Payment and Collection Act, 820 ILCS 115t1, and the lllinois

        Minimum Wage Law, 820 ILCS 105/1, and is brought to remedy violations by

        Dynamex operations East, lnc., (hereafter collectively "Dynamex" or
        "Defendant") that has deprived the Plaintiff of overtime, minimum wage, other

        wages, and damages to which he is entitled to recover due to a scheme engaged

        in by the Defendant to willfully and intentionally misclassify the Plaintiff as an
        "lndependent Contractof' rather than a common law employee.

     2. ln addition, the Plaintiff seeks additional damages    against the defendant for,

        retaliatory discharge      for opposing unlawful labor practices in violation of
        Section 15 (a) (3) of the Fair Labor Standards Act of 1938, 52 Stat. 1068, 29 U.

        S. C. S 215 (a) (315(a)(3), as well as retaliatory discharge for filing a claim for

        benefits pursuant to the lllinois Workers Compensation Act.
      Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 2 of 73 PageID #:90




          Under Federal and lllinois law, employees must be paid 1.5 times their regular

          rate of pay for all hours over 40 worked in a week, unless they qualify for a

          statutory exemption.

     4.   Despite these statutory requirements, Dynamex required the Plaintiff to work

          without any overtime pay whatsoever when in fact his duties did not qualify him

          for overtime exempt status.

     5.   Dynamex also deducted amounts from the Plaintiffs wages                 for   uniforms,

          equipment and occupational accident insurance that Dynamex required the

          Plaintiff to use in the course of his work for the Defendant. The deductions did not

          benefit the Plaintiff in any way, but rather, provided a ripe opportunity for the

          Defendant to shift their cost of business onto the Plaintiff.

          lndeed, Theresa M. Hodgson, Purchased Transportation Supervisor for the

          Defendant states on her Linkedln page, that, among other things she, '...

          increased deduction revenue by $2OOO a monthl'for the Defendant.

     7.   Dytamex intentionally and purposely misclassified the Plaintiff                as   an

          independent contractor, despite exercising extensive-if not exclusive contol

          over the manner in which the Plaintiff conducted his work for the Defendant.

     8.   The Defendant's acts violated Federal and lllinois taw, as well as ltlinois public

          policy prohibiting the termination of an employee who exercises his or her rights

          under the lllinois Workers Compensation Act. Amrdingly, Plaintifi seeks unpaid

          overtime compensation, an equal amount of liquidated damages, as well as

          compensatory actual and punitive damages in addition to reasonable fees and

          @sts, and all other available and appropriate relief to wtrich he is entitled,

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Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 3 of 73 PageID #:91




      including, but not limited to reimbursement of mileage, vehicle maintenance and

      fuel costs.

                               JURISDICTION AND VENUE

9.    This Court has subject matter jurisdiction over this action pursuant to the FLSA,

      29 U.S.C. S 216(b) and 28 U.S.C. S 1331 and 1337.

10.   This Court has supplementaljurisdiction over Plaintiffs state law claims pursuant

      to 28 U.S.C. S 1367 because these claims are so related to the claims in the

      FLSA action that they form a part of the same case or controversy.

ll.   Venue is proper in this district under 28 U.S.C. S 1391 because the acts or

      omissions giving rise   to claims in this Complaint primarily took place in the
      Northem District of lllinois. The Court atso has jurisdiction under 28 U.S.C.

      $1332(a)(1), because the amount in controversy in this action exceeds $75,000,

      exclusive of interest and costs, and because the parties are residents of different

      states.

                                              PARTIES

12. Plaintiff Kevin Wheeler is an individual residing in   the Northem District of lltinois,

      with his wife and two minor children.

13.   The Plaintiff worked for the Defendant from approximately December, 2011, until

      his termination on or about December 1,2014.

14.   Defendant Dynamex      is and at all relevant times has been engaged in the
      business of delivery services in the State of lllinois. Dynamex is incorporated in

      Delaware and is a wholly owned entity of Transforce, Inc. Dynamex owns and

      operates under    a   number   of   different names andlor entities, which are
      headquartered   in Dallas, Texas, including, but not limited to, Dynamex         lnc.,
 Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 4 of 73 PageID #:92




          Dynamex Fleet services, lnc., Dynamex operations East, lnc. and Dynamex

          Operations West, lnc. Dynamex has places of business at various locations in

          lllinois, including but not limited to 1200 Kirk Street, Elk Grove Village, lllinois

      60007, which is within the jurisdiction of this Court. lt is registered to do business

      in lllinois and retains a registered agent within lllinois.

15. Dynamex            states that it "...is an entrepreneurial-minded transportation services

      company, competing in Canada and the USA with a specific focus on same-day

      I   og   istics and outsou rced transportation services2.,,

                                         FACTUAL ALLEGATIONS

16. Dynamex required Plaintiff           and all other drivers, couriers and detivery drivers to

      sign a contract designating them as independent contractors.

tz. While Plaintiff had been designated by Dynamex as an independent contractor,

      Dylamex actually controlled and directed the performance of the Plaintiffs work;

      the Plaintiffs work was within Dynamex's usual course of business as a shipping

      oompany, and; the Plaintiff was not                in an   independently established trade,

      occupation, profession or business.

18.   The Plaintiff was hired by the defundant as an "independent contracto/' delivery

      driver in December,2011, until his employment was terminated by the defendant

      in or around Deember,2O14.

19.   The Plaintiffs work for the Defendant required no speciat skill. The Plaintifr was

      assigned a rcute by the Defendant that started at the same time every day and

      made deliveries to the same long term care facilities each day.




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!t     Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 5 of 73 PageID #:93




20.   The Plaintiff picked up his deliveries exclusively from Heartland Pharmacy of

      lllinois, LLC,   a closed door pharmacy located at 940 South       Frontage Road

      Woodridge, lllinois, and delivered the medications to long term care facitities,

      under the "Heartland" or "Manorcare" name.

zt. The Defendant assigned a schedule for which the Plaintiff had to adhere to. The

      Plaintiff had to work, at a minimum, Monday thru Saturday.

22.   On average, the Plaintiff worked 28 days a month for the Defendant, typically

      working 13 days consecutively before receiving one day off.

23.   The Plaintiffs primary routes included detiveries to Homewood, South Holland,

      Kankakee, Paxton, and Champaign, lllinois, which eventually changed to Moline

      and Henry lllinois, as well as Davenport, lowa. The Plaintiff also made deliveries

      to East Peoria, Peoria, Canton, Decatur and Normal, lllinois approximately every

      other Sunday.

24.   The Plaintiff regularly drove 300-400 miles per day in his own vehicle at his own

      expense for the benefit of the Defendant.

25.   The routes at Heartland were scheduled to start or "launch" at the same time

      everyday. Mondaythru saturday, routes "launched" at 1:00 pM, 10:00 pM and

      1:00 AM.   on sunday, all routes were scheduled to "launch" at 7:30 pM.
20. The Plaintiff   was required to contact the defendant's dispatcher at least one hour

      prior to his scheduled "launch" each day.

27.fhe Plaintiff was required to arrive at Heartland Pharmacy at least 15 minutes
      prior to each routes "launch" time.




                                            5
 Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 6 of 73 PageID #:94




28.   The Defendant established and maintained a sign-in log at Heartland. The
       Plaintiff was required to sign in each day with the time that he anived at the

      Pharmacy, as well as the time that he departed upon the completion of his route.

29.ln addition, the Plaintiff was required to adhere to the Defendant's grooming and

      uniform policies. These policies were well documented by the Defendant.

30.   The Defendant posted         a   picture showing and describing the uniform
      requirements that the Plaintiff was required to comply with. (See Exhibit A)

31. This document, entitled, "Dynamex Uniform Requirements," among other things,

      required the Plaintiff to wear his Dynamex shirt which was required to be tucked

      in, clean and pressed, with no holes. The Plaintiff also was required to have his

      Dynamex photo lD visible and present at all times. id.

32. These same requirements were also published in an          extensive'Work tnstruction"

      document that was published and disseminated by the Defendant. These work

      instructions and rules provided the Defendant significant controt over the Plaintiff

      and his work day. (See Exhibit B)

33.   The Defendant took wearing its uniform seriously. On several occasions, Peter

      Malinas ("Malinas"), operations supervisor for the Defendant, threatened to

      terminate the Plaintififor not wearing his complete uniform.

34. For exampte, the work instructions dictated the Plaintiff was required to follow the

      order of the deliveries as established by the Defendant. The Plaintiff was not

      allowed to deviate from this order.

35. Rule 5.4.1    of the 'Work lnstruction" document stated that the, "lC (Plaintiff,) to
      deliver TPE (totes/products and equipment) to destination as stated on stop




                                            6
Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 7 of 73 PageID #:95




      sequence from Dynamex driver manifest (must be conducted in order. lC is not to

      deviate from this sequence.)"

36. Separately,     in a letter dated November 14, 20'13, Defendant's then operations

      supervisor for the Heartland account, Timothy Vana, ('Vana") wrote a memo to

      Antwane Clark, another driver for the Defendant who worked with the Plaintiff at

      Heartland. ln it, Vana wrote "...be advised that the order of the route WILL be

      changing, but   Do Nor change it until we tell you to" (no emphasis added,         see

      Exhibit C).

37-   The Defendant also created a "Delivery Driver Breakdown Contingency Action

      Plan," which detailed the steps that the Plaintiff would have to undertake in

      painstaking detail in the event of a breakdown. (See Exhibit D)

:s. The Defendant also created a spreadsheet that showed the specific order                in

      which the routes had to be completed. ln addition, the spreadsheet shows the

      times in which the deliveries were to be made by. (see Exhibit E)

39. Malinas would regularly post a spreadsheet showing which driver(s) were making

      their deliveries on time, and which ones were not.

40.   On at least one occasion, Malinas rode with the Plaintiff during his route to

      determine the reason(s) why the Plaintiff was not able to make his deliveries by

      the time required by the Defendant.

41. The Plaintifi could not come and go as he pleased; if he wanted to take time off,

      he was required to submit a "time off request" to the Defendant. Depending on

      the length of time the Plaintiffwanted off, the Plaintiff could be required to provide

      one to two weeks advance notice. The Defendant could deny or cancel the

      requested time off solely at its discretion.
Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 8 of 73 PageID #:96




qz.   The Plaintiff also could not refuse to work routes. On March 14, 2A12, the

      Defendant released     a memo directed to "All Heartland Drivers" in which the
      Defendant told the Plaintiff in writing that, "...you will be required to work these

      holidays." The memo ended with the following warning: "*-Jou are responsible

      to cover your route and failure to do so will result in disciplinary action        -
      including up to removal of your route." (No emphasis added, see Exhibit F)

43. Separately, the Defendant created, posted, and disseminated a document to the

      Plaintiff to contact its dispatch center in the event that an issue arose. The

      document stated that the Defendants employees woutd make the decision on

      how to proceed and stated that he Plaintiff should never make a decision on his

      own.

u. The Defendant developed and advertised a '\rait-time" scheme where the
      Plaintiff was due to be compensated in the event that the route was not ready in

      time, which was often the case.

45. On multiple occasions, the Plaintiff was required       to wait at Heartland for more
      than two hours due to delays by Heartland Pharmacy and/or the Defendant.

      Delays of 30 minutes or more were a regular occuffence.

46. The Plaintiff was not allowed to leave the pharmacy during this "waiting" period.

47. Afrer    the first time in which the Plaintiff had to wait more than two hours for the

      route to be ready, the Plaintiff realized that he was not compensated for "wait

      time" on his check. The Plaintiff spoke with Malinas, who told the Plaintiff that,

      "due to the difficult nature of the client (Heartland), we've (Dynamex) decided not

      to bill them for wait time." ln nearly three years of employment, the Defendant

      never compensated the Plaintifffor any "wait time."
Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 9 of 73 PageID #:97




48.   The Defendant provided a route dispatchel who was a regularly employed,

      common law employee of the Defendant who worked at Heartland Pharmacy at

      or near the time that the routes were supposed to be launched.

49.   After the regularly employed dispatcher for the Defendant was moved to a

      different job location, the Plaintiff was offered an opportunity     to fill in as a
      dispatcher for the Defendant by Vana.

50. From approximately June, 2013 through December, 2014, the Plaintiff worked as

      a "dispatche/'for the Defendant.

51. The Plaintiff   was paid a fixed rate of $30 for each day that the plaintiff performed

      the dispatcher duties, but was paid as an "independent contractor" to perform the

      same duties that regular employees for the Defendant normally performed.

52. The Plaintiff logged into the Defendant's computer system, generating routes and

      printing route manifests for himself and the other drivers.

53. Employees       who work for the Defendant in the role as "dispatcher" receive

      overtime compensation at one-and-a-half times their regular rate for all hours

      worked over 40 in     a week, and enjoy other benefits that come with being
      regularly employed for the Defendant, including, but not limited to mileage and

      expense reimbursement, benefits, paid holidays, tuition reimbursement, vacation,

      retirement plan and contributions to Social Security and Medicare, as well as

      workers compensation and unemployment insurance benefits.

54. Although   the Plaintiff performed the same work, and in fact was trained to do the

      same work as its own common law employee dispatchers, the Defendant never

      considered the Plaintiff an employee nor did he receive any of the same benefits.




                                            I
Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 10 of 73 PageID #:98




55.    The Plaintiff, on occasion, would receive a fuel surcharge depending on the

       average price of fuel. The fuel surcharge, on average, equated to % of one cent

       per mile or /ess. The Defendant refused     to negotiate a more reasonable      fuel

      surcharge with the Plaintiff.

56.   On multiple occasions, the Plaintiff sought to increase his pay, whether through

      discussions with Vana and Malinas, or though more formal communications with

      branch manager Adam Phillips, Dynamex President Scott Leveridge, and

      Purchased Transportation Manager Teresa Hodgson. ln every circumstance, the

      Defendant refused to negotiate or otherwise discuss his pay.

s7' The Plaintiff was not in business for himself. Rather, he was fully integrated into

      the operations of the Defendant.

58. The    work relationship between the Plaintiff and Defendant was not meant to be

      short term nor did it contain a certain end date. Rather, it lasted for nearly three

      years, until the time that the Defendant terminated the Plaintiffs employment.

59.   The Plaintiff did not and coutd not seek out other opportunities to work as the

      demand placed upon him by the Defendant made doing so virtualty impossible.

50. Plaintiff   was paid for his work based on a pre-determined rate set by the
      Defendant. The Plaintiff could not negotiate the rate of pay that he received. The

      pay was the same regardless of the time it took the Plaintiff to complete his work.

61.   The Plaintiff had no opportunity to realize a profit without Dynamex. The
      Defendant paid the Plaintiff substantially less than the applicable lnternal

      Revenue Service mileage rate. Further, he could not deal directty with the long-

      term care pharmacies or nursing homes to offer his delivery services. lnstead, he

      had to go through Dynamex to provide this service.


                                           10
Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 11 of 73 PageID #:99




 62.   During the Plaintiffs employment, the Defendant deducted anywhere from

       $40.61 to $86.61 from each of Plaintiffs bi-weekly paychecks for an inoperable

       Blackberry@ phone, uniforms, an occupational accident insurance "fee," and

       occupational accident insurance, all of which the Defendant required the plaintiff

       to obtain from Defendant and maintain at alltimes.

63' The Defendant performed all payroll and accounting. The Plaintitr did not submit

       anything to the Defendant in order to be paid. All paychecks were remitted via

       direct deposit to the plaintiff.

64.    The Plaintiff typicalty worked in excess of 52 hours a week, but never received

       overtime pay. The Plaintiff was also required to use his own vehicle, logging, on

       average, over 2,350 miles per week, without expense reimbursement.

65. Plaintiff   was not in business for himself, but rather depended on Dynamex's

      business for the opportunity to render services to the longterm care pharmacies

      and nursing homes they served. The Defendant's operations and business are

      entirely dependent on drivers like the plaintiff.

66. The Plaintiff worked exclusively      for Dynamex up until November, 2014, when the

      Plaintiff obtained regular fult time employment with     a different   company. The
      Plaintiff never advertised his services, and the Plaintiff did not nor did he attempt

      to contract with other customers.

67. Despite obtaining regular, full-time employment, the Plaintiff continued to drive for

   the Defendant on Friday and Saturday nights, up until the time that the plaintiff

   was terminated by the Defendant in December, 2AM.

6s. Dynamex's business, among other things, is to deliver prescriptions from long-

   term care pharmacies to nursing homes and other long-term care facitities,

                                             11
Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 12 of 73 PageID #:100




      among other customers. ln order to conduct this business, Dynamex engages

      drivers, couriers and delivery drivers to pick the prescriptions up from the long-

      term care pharmacy and deliver them to their designated recipients.

0q.   Plaintiffs relationship with Dynamex was not intended to be temporary nor

      sporadic. Rathet Plaintiff worked full-time for Dynamex for approximately 3

      years, until the time that Dynamex terminated the Plaintiff.

70. Dynamex, which        is subject to FLSA requirements, is an employer within the
      meaning of the FLSA. Dynamex is the employer of Plaintiff in the instant action.

71. Dynamex required the Plaintiff     to use a specialized scanner, which the Plaintiff
      was required to acquire from the Defendant. ln addition, Dynamex required the

      use of a Blackberry phone (later an Android phone) and GpS.

72. The Plaintiff's work was performed for      the benefit of the Defendant, in the normal

      course of the Defendants' business and the Plaintiff was integrated into the

      business of the Defendant.

73.   The work performed by the Plaintiff required little skill. The PIaintiffs duties did

      not include managerial responsibilities nor did the Plaintiff exercise independent

      iudgment. The Plaintifi was not engaged        in making sales, and did not drive
      vehicles weighing over 10,000 pounds.

74.   Dynamex, which is subject     to FLSA requirements, is an employer within the
      meaning of the FLSA. Dynamex is the employer of Plaintiff in the instant action.

75. Dynamex's violations have been willful and intentional in that        it has known   all

      along that Plaintiff worked more than forty hours per week, and the requirements

      of the law required that the Defendant pay the Plaintiff overtime pay, but it
      refused to do so.


                                           12
Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 13 of 73 PageID #:101




 76. Defendant has been sued on multiple occasions with similar allegations and has

      settled many similar claims regarding independent contractor misclassification in

      the past.

77.   As a result of Dynamex's willful violations of the FLSA and the lllinois Minimum

      wage Law, 820 lll. comp. stat. 10s ("|MWL"); the illinois wage payment and

      Collection Act, 820 lll. Comp. Stat. 115 ("|WPCL") and related regulations, 56 lll.

      Admin. Code $210 and 56 lll. Admin. Code 5300 (collectively the "lllinois Wage

      Laws"), Plaintiff has suffered damages         in that he did not receive proper
      compensation in accordance with the FLSA and lllinois wage Laws.

                                          LEGAL CLAIMS

                              FIRST CAUSE OF ACTION
                  FAIR LABOR STANDARDS ACT. 29 U.S.C. gg          20i ef seq.
78. Plaintiff re-alleges   and incorporates by reference paragraphs 1 through    lZ as tt
      they were set forth again herein.

79' Defendant has engaged in a widespread pattern, policy, and practice of violating

      the FLSA, as detailed in this Complaint and through the use of supporting

      exhibits.

80'   At all times relevant, Plaintiff was employed by an entity engaged in commerce

      and/or the production or sale of goods for commerce within the meaning of 2g

      u.s.c. $$ 203(e), (m), and 206(a),         and/or they were engaged in commerce

      and/or the production or sale of goods for commerce within the meaning of 29

      U.S.C. gg 203(e), (m), and 206(a).

81.   At all times relevant, Plaintiff was an employee within the meaning of 29 U.S.C.

      $$ 203(e), (m) and 20G(a).



                                            13
Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 14 of 73 PageID #:102




 82.   At all times relevant, Defendant has been the employer of Plaintiff, engaged in

       commerce and/or the production of goods for commerce within the meaning of

       29 U.S.C. gg 203(e) and 206(a).

 83.   The overtime wage provisions set forth in the FLSA. 29 u.S.c. SS 210 ef seg.,

       and supporting federal regulations apply to Defendant and protect Plaintiff.

84. Defendant has failed      to pay Plaintiff overtime wages for hours that he worked in

       excess of 40 hours in a workweek.

85. Based on the foregoing, Dynamex's conduct in this regard was a willful violation

       of the Fair Labor Standards Act and entitles Plaintiff to compensation for      atl

       overtime hours worked, liquidated damages, restitution, reasonable fees and

       court costs.

86.    Due to the willful nature of the Defendant's decision to improperly classify the

       Plaintiff as an independent contractor, the Plaintiff seeks a three year statute of

       limitation of all issues so related to the Fair Labor standards Act.

                                 SECOND CAUSE OF ACTION
                                ILLINOIS MINIMUM WAGE LAW

              820 lll. comp. stat. 105/4a; 56 til. Admin. code s210.400 ef seg.
                                     - Unpaid Overtime
87- Plaintiff re-alleges   and incorporates by reference atl allegations in all preceding

      paragraphs.

88.   At all relevant times, Defendant has been, and continues to be, an "employe/,

      within the meaning of the lllinois Minimum Wage Law. At all relevant times,

      Defendant employed the Plaintiff within the meaning of the lllinois Minimum

      Wage Law.




                                            14
Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 15 of 73 PageID #:103




 89.   lllinois law requires employers to pay their employees an amount equal to or

       greater than the minimum amount set forth by lllinois law

90. Further, lllinois      law requires employers, such as Defendant, to pay overtime

       compensation to all non-exempt employees for all hours worked over forty per

       work week.

91. Plaintiff was a non-exempt employee entitled to be paid at least a minimum wage

       and overtime compensation for all overtime hours worked.

92. Throughout         the employment period, the Plaintiff regularly worked in excess of

       forty hours in a workweek.

g:. Defendant engaged in a widespread pattern, policy, and practice of violating the

       overtime provisions of the lllinois Minimum Wage Law, 820 lll. Comp. Stat.

       10514a, and supporting IDOL regulations, 56 lll. Admin. Code S210.400 ef seg.,

       as detailed in this Complaint.

94.    As a direct and proximate result of Defendants' unlawful conduct, as set forth

       herein, the Plaintiff has sustained damages, including loss of earnings for hours

       of overtime worked, and the failure to pay a minimum wage in an amount to be

       established at trial, with the Plaintiff seeking recovery of prejudgment interest,

      costs, fees and restitution, consistent with the statute.

95- Section 105/12(a) of       the IMWL imposes a penalty upon employers in the amount

      of   2o/o   of all wages and monies owed for each month that the underpayment
      remains unpaid. Therefore, the Plaintiff seeks restitution consistent with section

       105112(a) of the Act.

                                  THIRD GAUSE OF ACTION
                        ILLINOIS WAGE PAYMENT AND COLLECTION ACT



                                             15
Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 16 of 73 PageID #:104




                 Ad,"i::llliiu"S3:'i'i:J::i:illf"1,l1lfi,:8 j"i"ou",ions;
                                  Failure to Pay Final Wages

96. Plaintiff re-alleges and incorporates by reference all allegations in all preceding

      paragraphs.

gz. Defendant engaged in a widespread pattem, policy,
                                                      and practice of violating 820

      lll. comp. stat. 115/9 and 115114, as detailed in this complaint.

98.   At all times relevant, Plaintiff was an employee within the meaning of 820       lll.

      Comp. Stat. 105/3(d) and 820 lll. Comp. Stat. 115t2 and supporting IDOL

      Regulations.

99. At all times relevant, Defendant has been an employer within      the meaning of 820

      lll. Comp. Stat. 105/3(c) and 820 !ll. Comp. Stat. 115 and supporting         IDOL

      Regulations.

100.          The lllinois Wage Payment and Collection Act and supporting IDOL
      Regulations apply to the Defendant and protect the plaintiff.

101.          By conduct described herein, the Defendant made unlawful deductions

      from Plaintiffs wages in violation of 820 lll. Comp. Stat. 115/9 and 56 lll. Admin.

      Code 5300.700 ef seg. Defendants deducted wages from Plaintiffs paychecks

      for uniform purchases, for occupational accident insurance, fees related to the

      Occupational Accident lnsurance policy, as well as a specialized cellular phone

      all of which Defendants required the Plaintiff to use in the course of his work for

      Defendants.

102.         ln addition, the Defendant did not pay the Plaintifi all of the wages for

   which he was entitled to receive, including, but not limited to, overtime and

   expense reimbursement.


                                          16
Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 17 of 73 PageID #:105




 103.        Section '115114(a) of the lllinois Wage Payment and Collection Act

    imposes a penalty upon employers in the amount of 2% of all wages and monies

   owed for each month that the underpayment remains unpaid. Therefore, the

    Plaintiff seeks restitution consistent with section 115t14(a) of the Act.

                               FOURTH CAUSE OF ACTION
                               RETALIATORY DISCHARGE

104'         Plaintiff re-alleges and incorporates by reference all allegations in   a1

   preceding paragraphs.

105.        ln or around October, 2013, the Defendant presented a new and updated

   "lndependent contractof Agreement for the plaintiff to sign.

106.        The Defendant attached a cover letter to the agreement stating that
   Dynamex "desired" to enter into a new contract with the Plaintiff. (See Exhibit G

   and H)

r07.        The Plaintiff was presented with two options: 1) execute and retum the

   agreement within 10 days, or 2) initiate negotiations with the Defendant to alter

   the terms of the agreement or to seek negotiate the terms of the agreement.

I08.        At the time that the Defendant produced the new agreement, the Plaintiff

   had worked for the Defendant for nearly two years.

109.        The Plaintiff chose to attempt to negotiate terms with the Defendant that

   reflected the reality of the working relationship, as well as to seek an increase in

   pay.

110.        ln or around November,2013, the Plaintiff met with management for the

   Defendant at their office in Wood Dale, lllinois.

111'        The Defendant refused to negotiate any terms with the Plaintiff.



                                         17
Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 18 of 73 PageID #:106




 ll2.         Absent a willingness to negotiate terms that were more reasonable or fair

   for the Plaintiff, the Plaintiff declined to sign the newAgreement.

 I13.         The Plaintiff continued to work for the Defendant for approximately one

   year without issue.

rl4.          In or around October, 2014, the Plaintiff was repeatedly contacted by the

   Defendant's Purchased rransportation supervisor, Teresa Hodgson.

115.          Hodgson repeatedly threatened the Plaintiff with termination unless the

   Plaintiff signed the new Agreement immediately.

116.          The Plaintiff expressed to Hodgson both verbally and in writing that the

   Agreement, as presented, did not pair with the reality of the level of control

   exerted over the Plaintiff by the Defendant and further expressed concems to

   Hodgson that in reality an employer-emptoyee relationship existed between the

   parties.

ll7.          The Plaintiff, in good faith, then attempted to negotiate terms with the

   Defendant.

118.          Quite simply, the Plaintiff asked the Defendant to define his "portion" of

   the fuel surcharge with certainty.

119.          on   November 6, 2014, at 6:10 AM, Hodgson wrote an email response

   back to the Plaintiff, telling him that, "There is no altering the contract, you either

   need to sign it as is or not."

120.          The Plaintitr did not sign the new Agreement, and on November 7, 2014,

   at 2:54 PM, Hodgson informed the Plaintiff that he was disqualified and coutd no

   longer drive for the Plaintiff.




                                          18
Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 19 of 73 PageID #:107




t2t.       an fiD5114,     Hodgson contacted the Plaintiff again, reminding him that

   he was not active as a driver for Dynamex and asked the Plaintiff if he was still

   interested in contracting with the Defendant.

r22.       on   Monday, December 1,2014,        atl:s4   AM, the plaintiff responded to

   Hodgson. Notably, the Plaintiff told Hodgson, "...the agreement does not reflect

   the realities of the work and requirements incumbent upon me (and the other

   drivers) at Heartland. .."

123.       ln tum, Hodgson summarily terminated the Plaintiffs employment at 8:08

   AM on December 1,2014.

r24.       The Plaintiff was terminated due to his filing of a complaint regarding his

   treatment as an independent contractor and the Defendanfs faiture to pay the

   Plaintiff overtime and reimburse him for his expenses,

12s.       By virtue of its conduct, the Defendant violated 15(a)(3) of the FLSA

   when it terminated the Plaintiff for opposing unlawful and unfair work practices

   engaged in by the Defendant.

                            FIFTH CAUSE OF ACTION
                           PUBLIC POLICY VIOLATION
                    RETALIATORY DISCHARGE FOR ENGAGING
                            !N PROTECTED ACTIVITY

126.      Plaintifi re-alleges and incorporates by reference all allegations in all

   preceding paragraphs.

127.      On March 22, 2014, the Plaintiff sustained an injury while working for the

  Defendant.

128-      The Plaintiff sought medical care as a result of his injury.




                                        19
    Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 20 of 73 PageID #:108




    129.       On June 29, 2014, the Plaintiff informed the Defendant via written
       communication that he had been injured while in the coursie of his work for the

       Defendant and that he needed surgery to repair his elbow, and that he was

       seeking benefits pursuant to the lllinois workers compensation Act.

    130.       On June 30, 2014, the Plaintiff initiated claim 14WCO22'146 with the

       lllinois Workers Compensation Commission.

    131.       In July, 2014, the Plaintiff underwent surgery and returned to work on or

       about August     'l   , 2014, per his surgeons instructions.

    132.          On October 31, 2014, the Hodgson sent the Plaintiff a new copy of the

       Agreement. ln it, Addendum C specifically stated that, "Contractor is not legally

       entitled    to   pursue workers compensation claims through              or   against

       Dynamex...and further agrees            to indemnify Dynamex for all costs    incurred

       with...defending against any workers compensation claim.,,

   133.       Dynamex knew at all times that the Plaintiff was an improperly classified

       employee.

   134-       On December 1 , 2014, the Plaintiff alerted Hodgson to the fact that the

      Agreement would prevent the Plaintiff from bringing or maintaining a workers

      compensation claim against the Defendant.

   135.       On December 1, 2014, Hodgson terminated the Plaintiff for engaging           in

      the protected activity of filing a workers compensation claim in violation of lllinois

      Public Policy.



I,UHEREFORE, Plaintiff claims:




                                                  20
Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 21 of 73 PageID #:109




a) Overtime      wages under the Fair Labor Standards Act and the lllinois Minimum

     Wage Law;

b)   Liquidated damages under       the Fair Labor Standards Act and the        lllinois

     Minimum Wage Law;

c)   Appropriate statutory penalties, including, but not limited to damages equal to

     2o/o   of the underpaynent to the Plaintiff by the Defendant for each month of

     underpayment pursuant to    11 5114   of the lllinois Wage Payment and Collection

     Act and 105/12(a) of the illinois Minimum Wage Law;

d) Restitution for automobile expenses, including, but not limited to             fuel,

     maintenance, mileage, tolls, insurance premium increases and deductibles;

e) An additional award for adverse tax consequences to make the Plaintiff "whole;"

0    Actual damages;

g)   Compensatorydamages;

h)   Punitive damages;

i)   Pre-Judgment and Post-Judgment interest, as provided by law;

i)   Reasonable fees and costs under the Fair Labor Standards Act and the lllinois

     Wage Laws, including expert fees and costs (if any), and;

k) Such other injunctive and equitable relief as the Court may deem just          and

     proper.




                                           21
   a,
  Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 22 of 73 PageID #:110




                                       JURY DEIIAND

Plaintifi demands a trial by jury for all issues so triable.

Dated: May 25, 201ffi'

Respectfu Ily Submitted,



{** frlfu.-
Kevin Wheeler
667 Tuftledove Lane
Nenr Lenox, lL 6MS1-9901
630.333.6295
gwheelockg 1 S@sbcglobal. net




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Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 23 of 73 PageID #:111




                    EXHIBIT
Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 24 of 73 PageID #:112
Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 25 of 73 PageID #:113




                      EXHIBIT
    Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 26 of 73 PageID #:114

Dynamex Work lnstruction                                                      Work lnstruction No.:
Reference: Level       ll Document Data Control                                DEL Heartjand      100

Requirements 7.0                                                               Revision lssue No: 2.2
Title: Hearcland Delivery SOP                                                  Revision Effective Date:   lAZlnAl   I

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t.0       scoPE
          This document provides the work instruction necessary for the lndependent Contracted Driver (lndependent
          Contractor) to meet the requirements for the pickup and delivery of Heartland Pharmacy of lllinois, LLC
          products. (Moving forward, Heartland Pharmacy of lllinois, LLC will be referred to as 'Heartland'.)


2.0       RESPONSIBILITY AND AUTHORITY
          The Operations / Quality Managemenr Representative is responsible for maintaining this procedure.
          Management is responsible for enacting this procedure and for its' continuous implementation


3.0       DEFINITIONS
          Driver - Dynamex lndependent Contracted Driver
          Hearcland - Heartland Pharmacy of lllinois, LLC
          HIPAA       - Health lnsurance Portability and Accountability Act
          lC   -   lndependent Contractor
          TPE      - Totes,   Products and Equipment

4.0       REQUIREMENTS
           4.1        Vehicle requirement * minivan
           4.2        HIPAA training for all parties involved with Heartland
           4.3        All independent contractors must wear Dynamex uniform when delivering for Heartland account
                       including proper Dynamex identification
           4.4         Real-time scanning of POD by use of handheld scanners and blackberry
                        4.4.1 Refer to Work lnstruction: DEL_Heartland_ I 0 I Rev I .0 - Scanning Process
           4.5         Chain of custody sign-off forms and process
           4.6         Return of totes, products and equipment back to Heartland in Woodridge, lL


5.0       PROCEDURE
           5.1 Prior to Start of Designated Route
                5. l. I Ensure gas tank is full
                5. I .2 Upon arrival at Heartland-Woodridge,             lC   is   to checkin with Dynamex - Heartland account
                                 dispatcher prior to the release of designated route and utilizing the sign-in log
                        5.1.3    lC is not have any personal items in the cargo area
                        5.1.4    lC is to have hand sanitizer, latex gloves and fire extinguisher in vehicle
                        5.1.5    Proceed   to Step 5.2 - Pickup of Totes and Products at Heartland


           5.2         Pickup of Totes, Products & Equipment at Heartland
                        5.2. I lndependent Contractor (lC) to make pickup of Heartland totes, Products & equipment
                                 (TPE) at Woodridge location: 940 S. Frontage Rd., Woodridge, lL
                         Check in with dispatcher to determine if there are any changes or additions to assigned
                        5.2.2
Document is considered 'UNCONTROLLED" unless signed and dated by Site Operations / Quality Management
Representative


Signature:                                                                                                  Date:
   Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 27 of 73 PageID #:115

Dynarnex Work lnstruction                                               Work lnstruction No.:
Reference: Level   ll Document Data Control                             DEl-Heamland-100
Requirements 7.0                                                        Revision lssue No: 2.2
Titlq l.{eartland Delivery SOP                                          Revision Effective Dete: l2l2l120I
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                            route
                   5.2.3    Receive delivery manifest from dispatcher
                   5.2.4    Refresh Blackberry Handheld ro ensure you have (the most) updated driver manifest /
                            correct load stop sequence on DecsMobile
                   5.2.5    NOTE: Verify totes, products and equipment by manually marking the TPE boxes on the
                            inventory check-off boxes (located atop of each station stop on the driver manifest) to
                            ensure accurate customer order delivery. This is used by the lC to determine how many
                            TPE are needed for delivery at each nurse's station / location stop. This can also be used to
                            verify the number of items returned (if applicable)
                            5.2.5.1 NOTE: lC has a potential total of 6 items to deliver: (Grey) Totes, PST Boxes,
                                     lY coolers, tv EDK Boxes (informally called "lNJ / lniectible Boxes"),
                                     Medical Records, and lV Pumps (equipment) to consignee - Manor Care
                                     facilities
                   5.2.6    lC is to gather and group all TPE to be delivered (refer to stePs 5.2.5. I above), sort
                            according to stops / locations, and proceed to Step 5.3 - Load Scanning


         5.3       Load Scanning
                   5.3.1    Scan all   tore order manifests and products (PST Boxes, lV coolers, lV EDK boxes) with
                            assigned hand-held scanner
                   5.3.2    Load vehicle accordingto stop sequence to ensure efficient retrieval and delivery of TPE
                   5.3.3    NOTE: lC is to conduct one more glance of 'Back-Room' area for any TPE the lC may
                            have missed to ensure they have all products to deliver.
                   5.3.4    lnform the dispatcher you are leaving and start route via DecsMobile
                   5.3.5    Proceed to Step 5.4   -   Delivery of Totes, Products & Equipment


         5.4       Delivery of Totes, Products & Equipment (TPE)
                    5.4. I  lC to deliver TPE to destination as stated on stop sequence from Dynamex driver manifest
                            (must be conducted in order. lC is not to deviate from this sequence)
                    5.4.2Upondelivery,J!9ThelC|stoensureDynamex
                            photo lD is visible
                    5.4.3   Enter facility with TPE and proceed to nursing stations to begin delivery
                            5.4.3.1 As reference, refer to Form XXX for list of Heartland TPE associated
                                    with each nursing stations at all Manor Care facilities
                            5.4.3.2 NOTE: All TOTES and NARCOTIC PRODUCTS are to be considered
                                    ,l-for- l, meaning you cannot deliver these products unless you have a
                                    return to exchange. The following are considered narcotics products:
                           .UNCONTROLLED" unless signed and dated by Site Operations / Quality Management
Document is considered
Representative


Signature:
   Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 28 of 73 PageID #:116

Dynamex Work Instruction                                                      Work l'nstruction No.:
Reference: Level ll Document Data Control                                     DEl-Heartland-        100
Requirements 7.0                                                              Revision lssue No: 2.2
Title: Heartland Delivery SOP                                                 Revision Effective Date: I 2l2l   120   I   I



     3of6

                                          PSI.3ot.t, lV EDK boxes (AKA'lNJ / lniectible boxes')
                   5.4.4     Upon start of the delivery process, the lC is to scan the barcode on the order manifests
                             from the GREY TOTES at nurse's station to caPture proof of delivery
                             5.4.4.   I   NOTE: when delivering a tote, the lC must exchange / return a tote
                                          back to Heartland - Woodridge. This tote MUST have an orange seal if
                                          product is being returned back to the pharmacy. lf there is no product
                                          being returned back, then an orange seal is not required. NO chain of


                             5.4.4.2 NOTE: For delivery of narcotic products: PST Boxes, lV EDK boxes
                                     (AKA 'lNJ / lnjectible boxes') The lC is to perform and complete the
                                     Chain of Custody process when delivering to each nurse's station. Refer
                                     to Chain of Custody Step-by'Step Process on Step 5.5 (below)
                           ( S.+.+.1 NOTE: lf handheld scanning system is "down", the lC is to complete "rd ,"t.i"Q
                                     PODs the manual method by obtaining signatures of the necessary papernorly'
                           I
                           \-        associated with the products - including the Dynamex delivery manifest ._)
                             5.4.4.4 NOTE:
                                          5.4.4.4.1   When delivering a narcotics box you must have a NURSE sign for
                                                      the box. NEVER deliver a narcotics box              without picking up a
                                                      narcotics box.
                                          5.4.4.4.2   Make sure narcotics boxes being delivered have          BLACK            seals and

                                                      make sure narcotic boxes being picked up have RED seals.
                                          5.4.4.4.3 NEVER pick up an unlocked narcotics box.
                                          5.4.4.4.4 ONLY a nurse can apply the seal on any narcotics products. lf they
                                                      push back,   KINDLY state this     is a Heartland Process   procedure and
                                                      is needed
                                          5.4.4.4.5 NOTE: lf you pickup/exchange a narcotics               box with a black seal,
                                                      this is to indicate the box was never gPened. The lC is allowed to
                                                                                                             Chain        of   CustodY

                                                      processes. Refer to steps 5.5          -   Chain of Custody Step-by-Step
                                                      Process
                   5.4.5     For Products and Equipment, lC is to scan bar codes one at a time
                   5.4.6     Have the nurse sign the Dynamex driver manifest to capture their proof of delivery (POD)
                             from each nurse's station (having     a   delivery for that stop) on the Dynamex driver manifest.
                             5.4.6.   I NOTE: Be sure to have a legible signature,               printed name, date and time to
                                          capture with your scanner on all Dynamex Driver manifests
                             5.4.6.2 NOTE: lf a nurse's station does not have           a   tote or product to be delivered,
Document is considered 'UNCONTROLLED" unless signed and dated by Site Operations / Quality Management
Representative


Signature:                                                                                                    Date:
    Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 29 of 73 PageID #:117
                                                  Work Instruction No':
Dynamex Work lnstruction
                                                                          DEL-Heartland-100
Reference: Level   ll Document Data Control
                                                                          Revision lssue No: 2'2
Requirements 7'0
                                                                          Revision Effective Date: l2l2l l20l
                                                                                                                I

Title: Heartland DeliverY SOP


                                                                             code on DecsMobile to note the un-
                                     the lC is to input the proper excePtion
                                    delivery of TPE at nurse's station - "NO
                                                                             PRODUCT"
                                                                                              until finished at the
                    5.4.7   proceed to remaining nursing stations, repeating the same Process
                                                                     uPon your route
                            faciliry and proceed to exit' continuing
                            5.4.7.lNOTE:lflceverhasanyproblems,questions,oriustunsureabouta
                                      situation,alwayscalldispatch.A|waysinformdispatchofanyproblems
                                                                               course of route
                                      or situations which may arise during the
                     5'4.8NOTE:Remembertoalwaysbepolitetofacilityresidentsandstaff,theyare
                                                                               any business'
                                                                     is an integral part of
                             our customers and good customer'service


                   Chain of Custody Step'by-Step Process
                     5'5.lThepurposeofthisprocessistoensuretheintegrityofthenarcoticsproductsandtheft
                             Prevention
                             5.5'l.lNOTE:Thisprocessistobeconductedwhena.|.on-l,exchangeoccurswith
                                     thefollowingnarcbticproducts:PSTboxes,lvEDKboxes(AKA.INJ/
                                     lnjectibleBoxes,).WhenexchanginganarcoticsproductwithaManorCare
                                                                                                                  back
                                                                                 a narcotics product if given one
                                     nurses stations, the lc is to only exchange
                                       forareturn.ThelCistoNEVERdeliveranarcoticsproductwithoutan
                                                                                               management
                                       exchange     -  unless stated otherwise by Heartland
                                                                                         station, the returning and exchanged
                     5.5.2   When the     lc   delivers a narcotics product to a nursing

                              product is to:
                              5.5.2.1 Have      a RED   t*L
                                                                                                the station nurse place a red
                                                        lf it does not contain a red seal' have
                                                        seal on the product to Prevent
                                                                                         tamPerlng

                                5.s.2.:1ThelCistoretrievethepaperworkencasedintheclearfolder(attachedtothe
                                        product) from the delivered product
                                5.5.2.3Havethenursedocumentthesealnumberofthereturningnarcoticsproduct
                                        onto the chain of custodY form
                                                                            chain of custody form
                                5.5.2.4 Both the lC and nurse-i;to sign the
                                                                                of custody form into the sleeve of the
                                5.5.2.5 Place the signed and [li'tpt"t"a chain
                                        returned/exchanged product (that
                                                                               is to be RETURNED to Heartland -
                                          Woodridge)

                                                                 Woodridge
            5.6       Return of Totes, Products & Equipment to
                       5.6.IlCistosigninuponarrivingatHeartland-Woodridgeutilizingsign.inlog.
                       S.6.2Allreturned/exchangedto."r,prodr..sandequipmentmustbereturnedtoHeartland-
                             -UNCONTROLLED" un|ess signed and dated by Site Operations / Quality Management
    Document is considered
    Representative

                                                                                                            Date:
    Signature:
    Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 30 of 73 PageID #:118
                                                  Work lnstructlon No":
Dynamex Work I'nstruction
                                                                    DEL-Heartland-100
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                                                                    Revision lssue No:2.2
Requir-ernents 7.0                                                                           fil2t/20t   I
                                                                    Revision EffectiveDate
1i*h, P{sartland Delivery SOP


                            Woodridge immediately after delivery of route
                                                                               area
                    5.6.3   Grey Totes can be neatly placed in the 'Back-Room'
                                                                            /   numbered shelving according   to box
                    5.6.4   PST boxes must be properly placed on assigned
                            numbers
                    5.6.5lVPumps&lVCoolersaretobeplacedontheshelvingbythe.cage'
                    5.6.6 Place all paperwork into designated bins for submittal

 5.0    RELATED DOCUMENTATION




                                                                                              Management
                                                signed and dated by site operations / Quality
   Document is considered 'UNCONTROLLED" unless
   Representative


   Signature:
   Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 31 of 73 PageID #:119

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R,Jfereneel Livel tt Doctrment Eaa' Control
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                                                               Re/.isidn lsstre               .

Requircrnerlt* 7"O
                                                                                Dete libhtn}lt
                                                               Revlsion Effectrve
Titte tieartlirnd DeliverY SOP




6.0     APPROYAL SIGNATURES

                    & Title


                    & Title




                                                           dated by site operations / Quality Management
   Document is considered "UNCONTROLLED" unless signed and
   Representative

                                                                                           Date:
   Signature:
Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 32 of 73 PageID #:120




                    EXHIBIT
                      Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 33 of 73 PageID #:121




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Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 34 of 73 PageID #:122




                    EXHIBIT
Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 35 of 73 PageID #:123




                           HEARTLAND

       DELIVERY DRIVER BREAKDOWN

 CONTINGENCY ACTION PLAN
      Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 36 of 73 PageID #:124
                                                                                DEL-Heartland-103
Refe.ence Level ll Document Data Conrol
                                                                     Plan       Revision Effective Date: 08/24120 t 2
ii.i*' li.""f         Delivery Driver Breakdown Contj ngency
                "nd



t.0                                                                                             lndependent contracted Driver
          ?fi:::.rrent         provides       the work instruction necessary for the                     of Heartland Pharmacy of
           (lndependent Contractor)  to meet th" .uqulr"m"nts for the pickup and delivery will be referred to
                                                                Pharmacy of lllinois' LLc
                                                                                                                                 as
           lllinois, LLC products. (Moving forward, n""t.r""a
           'Heartland'.)

           RESPONSIB!LITY AND AUTHORITY
 2.0
                                                                       is responsible for maintaining this procedure'
           The operations / Quality Management.RePresentative for its' continuous implementation
           Management i, ,.urponribl" for enJcting tr,i,
                                                         proi"aure and

 3.0       DEFINITIONS
           Driver - Dynamex lndependent Contracted. Driver
           ieartland - Heartland Pharmacy of lllinois' LLC
           lC   -   lndePendent Contractor
           TPE      - Totes, Products and EquiPment

  4.0       REQUIREMENTS
                                                                   that they         iumper cables,              a sPare tire that   is
             4.1        Heartland delivery driver to provide proof           ,have       iron, lug nut keys' !ack) and
                                                                             (i.e., tire
                        designed for the vehicle, tire changl;g- "qriprent'
                        demonstratethattheyknowhowtousethatequipment.
                                                                                                emergencies for after hours'
             1;.1       ::lrli:::"rrarmacy's    facirity phone List to use for deliverv delav
                                                                                               n"t"toty  phone numbers in their
             4.4        Heartland delivery drivers will have     ,;;;,  oi tr'" sop.tniitr tne
                                                                                                  the SOP
                                                                     ha'e         and.understand
                        vehicles. All drivers to acknowledge they
                                                             ll"n#.    .na
                                                                            'e"d                have a coPy of the SoP in the
                4.5     Dynamex / Heartland Account                          .Dispatchers ,willdispatchers will acknowledge that
                        dispatch om." *iii tr,e necessary pi|n"
                                                                       nrru"rr. Rtt shift
                        they have read and understand the SOP

   5.0       PROCEDURE

                5.1 Driver Delay
                                                                                  delay them, they are to call the Heartland
                           5.1'l   lf a driver is experiencing an issue that will
                                   AccountManagerimmediately.He/shewillthendeterminet-h"n"t,."ofthedelay,and
                                   how long theY will be'

                                   5.l.l.lCurrentHeartlandAccountManager-TimVana,OperationsSupervisor'
                                                   Dynamex


                                    5. I .l   .2   Contact numbers for Tim Vana:
                                                                                  t358*35
                                                   5.1 .1.2.1 Direct connect: I I
                                                                                   1            - contact l st
                                                   5.1.1.2-2   Business cell: 3 l2-907 -7048   - contact 2nd
                                                   5'  .1.2.3 Dynamex phone number 630-350'5351 3rd
                                                        I

                                                   5.    .2.4 Home phone : 847'299'41 20 - contact
                                                        I.I
                                                                                            contact 4th
                                                   5.1 ' 1.2.5 Personal Cell:847-971'9844 -

       Documentisconsidered"UNCoNTRoLLED,,unlesssignedanddatedbySiteoperations/QualityManagement
       Representative

                                                                                                                    Date:
       Signature:
    Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 37 of 73 PageID #:125
ffiamexWork InstructionData Control                                                     DEL Heartland*t03
         Level ll Document
R.f.."n.*,                                                                              Revifon lssue No: 1.0
Requlrements 7.0                                                                        Revision Effective Dats   08124/20 t 2
                                                                              Plan
iitf*   H*r*f"nd Delivery Driver Breakdown Contingency




           5.2 Driver Vehicle Breakdown
                                                                         driver is to contact the Dynamex / Heartland
                     5.2.1   lf there is a driver vehicle breakdown, the
                                                                                  OF THE TIME'
                             Account Manager IMMEDIATELY - REGARDLESS

                             5.2. L   I   Please refer     to   5' l ' I '2   for list of contact numbers

                                                                         Heartland to notify them of the delay
                     s.2.2   The Heartland Account Manager is to contact

                             5.2.2.1 Emergency Contact numbers for Heartland:
                                     5.2,2,1.1 CONTACT ATTEMPT #I FOR AFTER'HOURin Toledo' OH -
                                                                                        EMERGENCIES:

                                                Emergency Number for Heartland answered
                                                            s00.500.6337x22600#.Press#afteryouenterthe
                                                            extension to speak with on call staff
                                                                                                      EMERGENCIES:
                                          5.2.2.1.2         CONTACT ATTEMPT #2 FOR AFTER-HOUR
                                                                                                    in Toledo' OH -
                                                            Emergency Number for Heartland answered

                                                                                                                                 l""il:::
                                                            *:**-r:*+*iii#1ilr"#:ffi
                                           5.2.2.l.3coNTAcTATTEMPT#IFoRNoRMALBUSINESSHoURS
                                                                                                   lL) '800'500'
                                                      (8AM -lAM) Heartland Pharmacy (in Woodridge'
                                                                                                  to  speak with
                                                      i33z p".rr'O Ption I for Pharmacy Services
                                                                customer service Phone tech

                               5.2.2,2Pleaseexplaintothemthenatureofthedrivervehiclebreakdown,andthe
                                                                                    resume their route
                                      length of time it will take for the driver to

                                                                           Dynamex Dispatch to notify them of the
                      5.2.3    The Heartland Account Manager is to contact
                               delay


                               5.2.3.1 Contact numbers for Dynamex Dispatch:
                                       s.2.3.1.1 800-3s0-5300
                                            5.2.3.1   .2        Direct Connect: I I l*358'r'32



                                            tocreateanactionplantoensureaseamlesstransitiontodelivertheTotes'
                                            ProductsandEquipmenttotheManorCarefacilitiesinaexpeditiousmanner
                                            toPreventpatientsfromNOTreceivingtheirmedicationandkeepmedications
                                            ProPerlY stored
                                                                                               Management
                                                 signed and dated by Site Operations / Quality
    Document is considered "UNCONTROLLED" unless
    Representative

                                                                                                                         Date:
    Signature:
   Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 38 of 73 PageID #:126
                                                                             DEL-Heartland-103
         Level ll Document Data Control
[Jr"i"n.",                                                                   Reviion lssue No: l'0
Requirements 7.0                                                             ;i;;t;i;; i*e..i".   Dats, a8t24   Dafi'
                                           Contingeney Plan
Title: Heartland Detivery Driver Breakdown



                  5.2.4TheHeartlandAccountManageristocontacteachoftheaffectedManorCarefacilities
                         tonotifythemofthedelay,natureofthedelayandexpectedtimeofarrivalfortheir
                              TPE'S


                              5.2.4-lContactnumbersforManorCareFacilities'seeattachedlist
                                                                                                              a follow
                                                                       after hours regarding delivery delays'
                  5.2.5       when facilities are contacted by Dynamex
                              upemailisexpectedtomyandDebraSmailisattentionthenextmorningdetailingwhat
                              happened'whichfacilitieswerecalled&adocumentednameandtimeofcallalerting
                              them so that we are aware'

                                                                                  email Heartland Pharmacy      of lL   operations
                      5.2.6   The Heartland Account Manager is to
                              Manager(currentlyDeeAnnwagreylandPharmacyServicesSupervisor(currently
                              DebraSmailis)toinformthemof.r,".ono..totheManorCarefaci|itiesinregardsto:
                               5.2.6'   I
                                       Nature of the situation
                               5.2.6.2 Which facilities were contacted
                               5.2.6.3 Name person(s) spoken to
                                             of
                               5.2.6.4 Date & time of call

                               5.2.6.5 Email addresses:
                                            5.2.6.5.1    Dee Ann Wagley - dwagley@hhstol'com
                                            5.2.6.5.2    DebraSmailis-dsmailis@hhstol'com



   5.0       RELATED DOCUMENTATION


                                            ffiffitr*   TIi'' l,ty Contact List




             APPROVAL SIGNATURES




    Documentisconsidered,UNCoNTRoLLED,,unlesssignedanddatedbySiteoperations/QualityManagement
     Representative

                                                                                                                  Date
     Signature
Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 39 of 73 PageID #:127




                    EXHIBIT
        Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16
                                                    !-    Page 40 of 73 PageID #:128


                    STOPS i
                                               ETA
Route
                    Wilmette                         .1425
        101
                                                      1501
                    HIGHLAND PARK
                                                     1535
                    LIBERTWILLE
                                                     1630
                    KENOSHA
                                                     1800
                    PEWAUKEE
                                                     2012
                    HEARTLAND

                                                      1358
        LOz         HOMEWOOD
                    SOUTH HOLLAND
                                                      t42l
                                                      1519
                     KANKAKEE
                                                      1632
                     PAXTON
                                                      t7L4
                     CHAMPAIGN
                                                      t948
                     HEARTLAND

                                                      1340
          103        PALOS EAST
                                                      1355
                     PALOS WEST
                                                      L4L7
                     OAK LAWN EAST
                                                       L433
                     OAK LAWN WEST
                                                       1510
                     HINSDALE
                                                       L529
                     WESTMONT
                                                       1618
                      NAPERVILLE
                                                       L729
                      HEARTLAND

                                                       t357
          104         NORTHBROOK
                                                       L440
                      ARLINGTON HEIGHTS
                                                       L502
                      ROLLING MEADOWS
                                                       t541-
                      ELK GROVE
                                                        L646
                      ELGIN
                                                        1811
                      HEARTLAND

                                                        0:25
   200A                NORMAL

                                                         0:05
   200B                RIVERVIEW
                                                         L:15
                       PEORIA
                                                         2:56
                       DECATUR
                                                         5:05
                       HEARTLAND

                                                         0:45
              201      MOLINE
                                                         1:16
                       UTICA RIDGE
                                                         1:39
                       DAVENPORT
                                                         3:37
                        HENRY
                                                            6:24
                        HEARTLAND

                                                             0:52
              202       GALESBURG
                                                             L:LZ
                        MACOMB
                                                             2:L8
                        CANTON
Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 41 of 73 PageID #:129

                                             3:23
            NORMAL



             LIBERTWILLE                     1:56
301
             KENOSHA
                                             2:40
             PEWAUKEE                        3:46
              ON DU LAC                      4:51
             HEARTLAND                       7:29


                                              1:52
302          HOMEWOOD
                                              2:70
             SOUTH HOLLAND
             KANKAKEE
                                              3:06
             PAXTON                           4:08
             CHAMPAIGN
                                              4:57
                                              7:O5
             HEARTLAND


             NAPERVILLE
                                              1:35
 303
                                              2:O8
             PALOS EAST
              PALOS WEST
                                              2:22
              OAK LAWN EAST                   2:5L
              OAK LAWN WEST
                                              3:04
              HINSDALE
                                              3:40
              WESTMONT                        3:55
              HEARTLAND
                                              4:32


              ELGIN
                                               t:51
 304
              ELK GROVE
                                               2:22
              ROLLING MEADOWS                  3:01
              ARLINGTON HEIGHTS                3:26
                                               4:O3
              NORTHBROOK
              HIGHLAND PARK
                                               4:51
              WILMETTE                         5:33
               HEARTLAND                       6:56


               HINSDALE                       20:27
  401
               WESTMONT                       20:49
               NAPERVILLE                     2t:L9
               HEARTLAND                      2L:54


  402          ELGIN
               ELK GROVE
               ARLINGTON
               ROLLING MEADOWS
               HEARTLAND


               NORTHBROOK                      20:55
      404
               LIBERTWILLE                     2t:35
 Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 42 of 73 PageID #:130


            HIGHLAND PARK                   2L:59
            WILMEfiE                        22:28
            HEARTLAND                       23:25


405         PALOS EAST                      20:35
            PALOS WEST                      20:48
            OAKLAWN EAST                    27:!4
            OAKLWAN WEST                    21.:36
            HEARTLAND                       22:O4


406         KANKAKEE              2t:L6
            CHAMPAIGN             22:40
            PAXTON                23:21,
            HEARTLAND               1:13


408         HOMEWOOD              20:48
            SOUTH HOLLAND          2L:13
            HEARTLAND              2t:58

409          OND DU LAC            22:40
            PEWAUKEE                0:05
            KENOSHA                 1:10
            HEARTLAND               2:L9


s00         DECATUR                23Ot
            NORMAL                 23:59
            HEARTLAND               1:58


501         RIVERVIEW              22:3L
            PEORIA                 22:57
            CANTON                 23:48
             HEARTLAND              2:46


soz          HENRY                 22:2O
             MACOMB                 O:37
             GALESBURG              1:48
             HEARTLAND              4:4.2


504          UTICA RIDGE           22:54
             DAVENPORT             23:LG
             MOLINE                23:4L
             HEARTLAND              2:t9
Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 43 of 73 PageID #:131




                     EXHIBIT
  Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 44 of 73 PageID #:132




Heartland Memo
  lo:       All Heartland Drivers

  From:      Peter Malinis

  GG:        Dennis Hartnett

  Ilate:     311412012

   Re:       HOLIDAY ROUTES




   ATTENTIO{ lc DRIVERS'

                                                                                         of
   ln the next few weeks and months, we
                                             will be celebrating several. holidays' Most
   these holidays witr'taiion eithe= SrnOrV
                                               o. MonO'y' Eitlier way' these days will run
   as a SUNDAY ROUTE'
                                                                                    to work
    For the sunday route drivers (the 400
                                          anrl 500 routes)' vou will be required
   these holidavs. As you-aiready Xno*, i""rttanO
                                                       rs ifin    o*^ions' and therefore'
                                                          to delivery your routes on these
    we are too. Because of this, you *iti'u"-"rpected
    holidays.
                                                   driver, Vou are allowed to do so'
                                                                                        Just
    lf you want to switch days with another route
    ;J  6;9 as the Dispatcher is aware of it and approves'
                                    ,lnformation Board'for you to call and make the switch' It
    There   is a driver list on the
                                                                 because you are ultimately
    is your responsibility to do this ., not in" Oi.p'icher contacting the 100/200/300
    responsible to cover your route. (l would
                                                    recommend
    route drivers.)
                                                          you choose to do so' And you also
    There is ample time to get your shift covered-if
                                                        because the launch is not until 8pm'
     have the opportunity to celebrate th; holidays
                                                            your assigned route'
     So it is possibte to cleOrate the holiday and deliver

        Again, I just wanted to reiterate that
        fa-llure to do so will regut in dis(
        vour route.
        THANKYOIJ

                                                                                  Peter Malinis'
                                                                  Dynamex OPerations SuPervisor
Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 45 of 73 PageID #:133




                    EXHIBIT
      Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 46 of 73 PageID #:134



                     current contractors/Enterprises servicing   Dyna mex   customers
To:
                                           MST
From:                Dynamex operations           ,ln   .



Re:                  New Independent Contractor Agreement

Importance:          High
                               |o/t 8/2m
out",
      The purpose of this memo is to notifo you that-Dynamex Operations
                                                                                y',Inc.' ('the
                                                                           ('AgreementJ with
Company) desires to enter into a new tnAeplndent Contractor Agreement
you. The proposed new Agreement is included in this packet for your review and consideration'
                                                                        rights and obligations
The Agreement is an important legal document that creates contractual
for both parties, so please make sure you understand and agree to all of the
                                                                                        terms
before signing it.
I.      GENERAL INSTRUCTIONS

        This memo explains some of the important clarifications and changes made
                                                                                       in the.new
Agreement, but as a business owner, you are ultimately responsible for
                                                                               taking the   actions
necessary to understand the proposed-terms. You are also responsible
                                                                                for initiating any
negotiation of the Agreement's terms if you wish-to-do so. However
                                                                         you  choose  to proceed'
we ask that you r6sponA to the iorprny within 1O days of receipt of this memo to
                                                                                                 by
(1) returning fully executed copy of thb Agreement, OR (2) by contacting the Companyyou
               i
initiate negotiation of the contract terms. If you decide to sign and return the
                                                                                  Agreement,
                                                                           documentation     to the
should mail a fuily &eiuted copy oitn. Agreement along with all related
Company using the self-addressed envelo-pe included in this packet. As
                                                                            a separate business,
you should als6 make a copy of the Agreement for your records.
                                                                                          where a
        When reviewing the Agreement, please pay special attention to those sections
                                                                                    the Agreement
 signature or other information must be inserted. ro frelp identify these sections,
                                                                               questions regarding
 has been shaded wherever information must be added'. If you have any
 the Agreement or what information to insert, you should contact the Operations Manager
 responsible for the area in which your business operates'

 H.     IMPORTANT CLARIFICATIONS AND CHANGES TO AGREEMENT

       Like the current agreement between you and the company, the new Agreement
 memorializes the pafties'-intent to create an independent contractor relationship,
                                                                                    not an
 employment relationship. The Agreement gives you the opportunity to
                                                                     perform transportation
                                                                              also allowing you
 and delivery seruices (or "Engagements') fo-r tne bompany's customers, while
 to retain the right to operatJyJur business free from control by the Company or the
                                                                                      customers
 you service. As always, you are also free to negotiate the terms of the Agreement, including
 ihe amount of the fees you charge for transportation seruices.

         There are a few important clarifications and changes in the new Agreement
                                                                                   that we'd
      Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 47 of 73 PageID #:135



specifically like to bring to your attention.
                                                                                             to
       Security Outenruear: The new Agreement clarifies the contractual terms relating
                                                                                          some
contractor appearance while on a customer's premises. As you know, for security reasons
                                                                                          them
customers require that contractors display Id badges or wear ceftain apparel identifying
                                                                                       The new
as being contracted through the Company in orderlo access the customert locations.
Agreemint clarifies the situation by expressly stating that contractors have no contractual
obligation to wear such apparel oi an ID badge unless the customer being serviced
                                                                                            has
speiifically implemented a security requirement of this kind. In such cases, the        security
                                                                                          when
requirement will be separately ideniified in advance so that it can be taken into account
                                                                                      when  you
you negotiate the amount you will charge to seruice the customer. Moreover, even
agree to service a customei with . secrlity requirement of this kind, your driver only
                                                                                       needs to
wear the apparel or ID badge while on the customer's premises'

       Another, very significant change to the Agreement is the modification to the Dispute
                                                                                           you and
Resolution (or Arbitiation) Provision, *[ich requirei most types of disputes between
the Company to be resolved through arbitration (disputes that can be resolved in small claims
                                                                                          provision
court are specifically excluded). fh" co*pany is proposing to add this arbitration
because    itbelievej that disputes can be resolved in arbitration more quickly and- less
expensively than if they are brought in court. If you prefer to bring all of your disputes
                                                                                           before a
court, you can choose not to agree to the Arbitration Provision in the new Agreement by
                                                                                                the
notifying the Company of your intent to "opt out" of the Provision within 3O days of signing
AgreemLnt, as described further below. Because entering into the new Agreement - and
the Arbitration provision in pafticular will affect your legal rights, the !gmP_"ny
                                                -
strongly recommends that you read this memo, the Agreement, and the Arbitration
Provision, v€ty carefully.
      What is arbitration? The Company hopes that any dispute that might arise between
 you and it will be resolved informally. However, if that does not happen, the Arbitration
 Frovision requires both sides to submit the dispute to "arbitration" instead of filing a lawsuit
                                                                                                  in
 court. This means that you and the Company would pick a neutral, independent person, called
     ..arbitrator,,, who would make a determination after listening to the evidence presented by
 an
 each side. The arbitrator can award any form of individual relief available in coutt. The
                                                                                                  in
 Company believes the reason disputes can be resolved more quickly, and less expensively,
 arbitration than in couft is because the arbitration proceeding would be less formal and limited
 to individual claims. Arbitrators are also not subject to the backlog of cases facing many courts,
 So an arbitrator can often issue a decision faster than a coutt.

         What cannot be arbitrated? While the Arbitration Provision provides that you can
 arbitrate the same claims on behalf of yourself as you can in coutt, it does notallow
                                                                                       you to
 bring claims on behall ol others, such as a "class" of individuals. The U.S. Supreme
 Courl' recently observed that if class claims were brought in arbitration, the advantages of
 arbitration would be lost, making arbitration as slow and as costly as court proceedings, where
 claims brought as class actions irequently take years to resolve, often with little benefit to the
 class members. In addition, the Arbitration Provision excludes disputes that may be resolved
                                                                                                  in
 small claims court.
     Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 48 of 73 PageID #:136



      What if I do not want to arbitrate? You have 30 days from the date that you sign
the Agreement to opt out of the Arbitration Provision. You may do so as described in the
lgreement.     you will not suffer any consequence or retaliation for opting out of the Arbitration
pr-ovision. If you opt out within ttre gO-day period, you will not be required to arbitrate
disputes between you and the Company. However, if you do not opt out within this
period, or if you do nothing, the Arbitration Provision will become binding on you
ind the Company 3O days Jner you have signed the new Agreement. After that, you
must arbitrate-anydispute with the Company that cannot be resolved informally or in small
claims court.

       How will the Arbitration Provision affect my rights? The Arbitration Provision
provides that you and the Company each waive the right to file a lawsuit in court against one
another (except small claims), and that any claim that is arbitrated must be done on behalf of
you alone, and not on behalf of a class. This includes disputes that arose prior to entering into
the new Agreement and the Arbitration Provision.

        May I consult an attorney? The Company believes the Arbitration Provision will
benefit everyone. Nevertheless, the decision whether to agree to the Arbitration Provision is
yours to mike. The decision to arbitrate claims instead of having them heard in court is a
significant one, as is the decision to fofeit your right to participate in a class action in favor of
ar-bitrating individual disputes. The Company therefore wants to make clear that you have the
right to consult an attorney of your choice to discuss the Arbitration Provision. If instead you'd
like to speak to one of the Company's representatives regarding the Arbitration Provision or the
Agreement generally, please feel free          to
                                                contact email the Region Vice President
(         pALtr-lASKo ) at                    patal,<sxo
                                                           @Dynamex.Com.
Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 49 of 73 PageID #:137




                    EXHIBIT
    Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 50 of 73 PageID #:138



                                  lndependent Contractor Ag reernent

                           OPERATIONS REGULATED BY ILLINOTS LAW

This Appendix to the lndependent Contractor Agreement ('Agreement") shall apply to any.transportation services
coNTilAcToR performs pursuant to the Agreement th-at are subject to th9 laws .of the state of lllinois, as
referenced or described below. To the extentihat any contractual or legal requirement imposed bythis Appendix
exceeds that set forth in the Agreement, the heightened standard set forth in this Appendix shall apply.

Subject to the foregoing, and to the octent CONTMCTOR and/or its services are subject to the following state
law requirernents, CONTRACTOR agrees to:

        (1)     register with the ltlinois Commerce Commission and maintain a Public Carrier Certificate;

        (Z)     if performing services on an interstate basis, comply with all apllicable provisions of the Unified
                Canier Registration ("UCR') program, as provided for in 49 U.S.C. Section 145Ma; and

        (3)     meet or exceed the minimum coverage standards for insurance required under lllinois and federal
                law.

THIS APPENDIX is agreed to by the undersigned parties as of the latest date set forth below.



  COMPANY                                              CONTRACTOR

                                   20                  Dated:                               20

  Signature:                                           Signature:

  Name:                                                Name:
   Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 51 of 73 PageID #:139




                                                            SERVICES (2013)
         INDEPENDENT CONTMCTOR AGREEMENT FOR TRANSPORTATION
                                                                           ('AGREEMENT") entered into
         THls TNDEpENDENT coNTRACToR AGREEMENT FoR TnlNSpoRTATtoN SERVlcEs
as of the                    day     of                       , 20-               (the     "Effective Date"),        by and          between

                                                  with its principal office located at                                _-.-               (the

                                                    , lnc', a Delaware corporation ("Dynamex')'

                                                              WITNESSETH:

                                                                                                    and freight broker pursuant to
           WHEREAS, Dynamex is a duly licensed common canier, contract canier, freight{orwarder,
                                                                                              and similar state agencies regulating
various operating authorities issued by the united statei Department of rransportation aDOT')
intrastate caniers; and

                                                                                             and ananging ground transportation
          WHEREAS, Dynamex is engaged in the separate businesses of providing, brokering
                                              freight, documents and general merc[andise, among other things (hereinafter refened
services with respect to general commodities,
to as'Packages'), throughoutthe United States; and

                                                                                        motor caniers and other independent
          WHEREAS, in connection with these business lines, Dynamex contracts to
                                                           the movement of Packages that Dynamex brokers and/or ananges on
transportation providers transportation services involving
benaif of ttre customer for which the service is to be performed; and

                                                                                                transportation provider engaged.in
           WHEREAS, Gontractor is a fully licensed motor carrier and/or authorized independent
                                                      services,   and lavt4ully in possession  of  the equipment (including motor
the business of providing commercial iransportation
                                                                                         transportation services in compliance with
vehicle(s), equipment, and accessories) and personnel necessary to perform tommercial
all applicable laws and regulations; and

                                                                                         receive offers to perform contracted
                                                                                                 to
          WHEREAS, Contractor desires to enter into this Agreement for the right
                                                                                which, as an independent contractor/enterprise'
transportation services Dynamex brokers and/or ananges on beilalf of customers,
Contractor shall be free to accept or decline.

                                                                                 promises below,                       it is   mutually agreed
         NOW, THEREFORE, in consideration of the above assertions and the mutual
between the parties as follows:

           1.   puRposEoFAGREEMENT: This Agreement govems the relationship between Dynamex and contractor, and
                                                                                      equipment co1tr99t9r agrees to.provide in..the
 serves as the master contract setting forth the terms aiplicable tJ all services and
                                                                                                                         described
                                                                                                     not limited to the services
 performance of transportation servic6s brokered or subcontracted by Dynamex, including, but
 below and those memorialized in the attached Adoendum R lcoiteciivety
                                                                                  'the contricted services'). This includes services
                                                                                                 as well as                 services to be
 Dynamex brokers to Contractor for performanc. ,nJ., Contracto/s operaiing authority,                       -subcontracted
                                                  pursuant   to United states  Department     of rransportation   ('Dor") reg-ulations at 49
 performed under Dynamex,s operating authority
                                                                                       in thisAgreement shall guarantee Contractor any
 CFR part 376 (,,Leasing negutitionill untess otirenrvise agreeo in writing, nothing
                                                                                                           obligate contractor to accept or
 particular volume of busineis o, ,"*i.. for any particutar ti"me period. u6ittrer shilt this Agreement
                                                                                 pursuant  to this Agreement'
 perform any contract engagement or service ofportunity offered by Dynamex


           2.        RELATISNSH;p oF pARTIES (;NDEPENDENT
                                                        -tfo*nlo     coNTMcroR): This Agreement is between two co-equal,
 independent business enterprises that are srprr.t                ano operatgd.       entuing.into this Agreement, the parties intend to
                                                                                  Py
 establish a relationship of principal/independent .ontir.tor, not emptoyer/emptoyee,
                                                                                           forill purposes' As such, Contractor shali be
                                                                         including  the  specific manner and means by which Contractor
 responsible for determining how to perform the Contiacted'services,
 accomplishes the end result desired by the customer. Dynamex shail have noright
                                                                                         to, andshall not, control the manner or prescribe
                                                                                             nor contractor shall be considered the agent'
 the method by which contractor performs the contracted services. Neither Dynimex
                                                                                               shall have the right to contractually bind the
 servant, employee, partner or co-venturer of tne otneiloi iny prtpo*, and      neither party
                                                                    nor contractor's   oificers, directors, agents, subcontractors, indirect
 other without its express written agreement. Neither contracior
                                                                                               employees of Dynamex or its customer for
  drivers, employees, helpers or servants ("Contracto/s iersonnel") shall be considered
                                                                                    participate in any.welfare plan or receive any other
  any purpose. Nor shall Contractor or iontracto/s Personnel be eligible to
                                                                                                      (This exclusion/ineligibility shall apply
  benefit, if any, available to Dynamex's or its customer's employees, agints, or subcontractors.




  lC Agreement 2013 Master
   Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 52 of 73 PageID #:140




                                                                                 of Dynamex and/or its customer by a court or
to Contractor and Contractor's personnel even if legally found to be an employee
agency of competent jurisdiction.)

                                                                                      of the Effective Date and shall continue in
          3.       TERM OF AGREEMENT: This Agreement shall commence as
                                                                           Agreement'
effect until terminated in accordance with the terms of Section 12 of this

                                                                                          in Addendum A, the Contracted
          4.      CONTMCTED SERVICES: ln addition to any services specifically described
                                                               ,.y, tto,                       to Contractor' lf not already
                                 service opportunitiei
Services shall include all transportation              bynrr"*            time  to time, offer
                                                                                                                                customer's
known by Contractor, when Dynamex offers a              opportrritv to Conttucior, Dynamex shall advise,Contractor of the
                                                   r.*i..
                                                                                                 the pickup/delivery  location(s), Package
parameters defining the contiacied Service to re perroiried, *rii.n tnrrr   generally   include
                                                      (as well as  other customer    specifications-unique    to the  contracted service)
count and weight, and pickup/delivery window(s)
                                                                                      such offer. Once accepted, however, Contractor
(*Service parameters"). Contiictor shall have thti right to decline or accept any
                                                                                         Parameters. All matters relating to the manner
shall be contractually nounJ to pertorm the service ii accordance with the Service
                                                                                     discretion and control, including, but not limited to'
and means of performance, however, shall remain *tnin-cortrrao/s         exclusive
                                             of the equipmenirna   p."onnel    u-sed to  perform  the service, routing and ordering of the
the priority assigned tne service, selection
                                                                            (to the extent deemed necessary by Contractor or required
service, managemenUsupervision of the personnet pertorming the'service
                                                                                          regarding Proof of Delivery documentation set
by law), and manner of invoicing for the service (suUject to"tne rcga requirements
forth below).

                                                                                                             the performance of the Contracted
                   (a)   Full performance: Contractor agrees to devote its best efforts to
                                                                                                      of all  Packages.jncluded in the shipment
                                                       (r) picxup   ano  taking  of lawful custody
services. Generally, fu1 performance shall inctude:
                                              packager      tiin..:p..ineo  dJlivgrv  location(s)  in  accordance    with all applicable laws; (3)
from the shipper; (2) safe transport   of the
                                                                                           or lois)      the   appropriate  shipper/consignee; (4)
timety delivery ano transreioi tawful possession it tn.-piit ages (without dahage
                                                                                                     to
                                                                                        ipecified  by  the   customer    for Proof of Delivery and
timely submission of all information and documentation requiieJ by law         and/o.r
                                                      of lawful'custody   of any  undeliverable   cargo   to  the shipper  and/or customer'
chain of custody; and (5) timer}/ return and transfer

                                                                                                                 agreed upon in Addendum A,
                   (b)     Contracto/s Availability: With the exception of any specific arrangement
                                                                                                           and/or   equipment pursuant to this
 contractor shall determine, in its sole discretion, whether          and when     to  provide   services
                                                                                                       particular time period' and shall not be
 Agreement. contractor has no obligation to be on-Ji to receive service offers for
                                                                                                  any
                                                                                                                         contractor shall not be
 eligible for any on-call payments froil Dynamex. wh; declining an offer to
                                                                                        perform   contracted  services,
                                                                       penalty for  the refusal'
 reduireO to provide any'juitification for its refusal, nor suffer any

                                                                                                   parties understand that Contractor
                    (c)  Concurrent Services: As an independent contractor/enterprise, the
                                                                                     public generally   (common canier), in a manner
 offers its services eqrattyTo 6G; .omffies (contract      carrier) and/or to
                                                         -wth                   the
                                                               the  exception   of exclusive-use  arrangements    governed by the DoT
 consistent with the other provisions of this Rgreement.
                                                                                                     free to perform concurrent delivery
 Leasing Regulations and as   may be agreed to by contiactor in its discretion, contractor shall be
 servicei foriompanies other     thin Dynimex, and to commingle cargo to the extent allowed by law'

            5.      CONTMCTOR'S SERVICE FEES

                    (a)
                     Service Fees: As full and complete payment.for.Contractor's
                                                                                 performance of.the Contracted Services,
                                                                                  A, which fees have been negotiated and
 Dynamex shall pay Contra-cto/s
                            service fees, as .gr..d ;po. ind speciReo in Addendum
                                                                              (attached and incorporated into Addendum A)' The term
 agreed upon by the parties in connection with the contiactirrs bid/proposal
 .Net
      Revenue,, as used inltris Rgreement shall mean r..r.nr. less sales/cash
                                                                                  discounts, credits (billing enors/delivery failures, etc')
 and bad debt. Dynamex and dontractor shall each       have   the right to request    changes and/or renegotiation of the provisions of
                                                                                              Dynamex will not be liable to contractor for
 Addendum A, which may only be modified by wriften ,g"u-r.nt sijneo uy both^partiesl
                                                                                              civildisturbance, acts of terrorism, acts or
 any setlement or toss asiociatuo *tn suspension of iervices ou6 to aits of God,
                                                                                         war,
  demands of any government or governmental ,g.n.y, labor disturbances,            fires, floods or other casualty, severe weather' or
                                                                                    agrees that from time to time circumstances such as
  customer suspension or terminatioi of service. contr#or understands and
                                                                                             circumstances.will.occur and contractor will
  traffic or shipment relay delays, adverse weather, ,nJ oir.r.r pot.ntially cost incieasing
                                                                            occurrences.   iontractor   shall be free to request additional
  not be guaranteed any additional payment from Dynamex ior such
                                                    and contractor   and   Dynamex   may  negotiate for  additional compensation subject to
  compensation due to extenuating circumstances,
                                                                                                            by contractor while performing
  mutual   agreement. contractor hereby acknowledges that financial gain or loss m'ay be recognized
  transportation services under this Agreement.




  lC Agreement 2013 Master
   Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 53 of 73 PageID #:141




                  (b)   lncomplete Paoerwork: lf, after payment is made, Dynamex discovers that Contractor failed to submit all
required documentation, or submitted incomplete or inaccurate documentation, Dynamex shall have the right to charge back the
amount of the improperly invoiced fee from any amounts owed to Contractor, including future service fees, and Contractor hereby
authorizes such charge back. To recover such a payment, Dynamex must notify Contractor of the enor within thirty (30) calendar
days of the date on which the payment was made. lf notice of fte enor is not made within the thirty (30) day period, it shall be
deemed untimely and Dynamex's right to recover the payment shall be waived.

                  (c)     Payment Disputes: Payment by Dynamex to Contractor under the terms of this Agreement shall be deemed
complete and accurate unless writien notice disputing the amount of payment is provided by Contractor to Dynamex within fourteen
('14) days of Contracto/s receipt of the settlement check containing the disputed payment. ln the absence of such timely notice by
Contractor, the settlement payment shall be conclusively presumed to be correct and final. Once final, Contractor may only dispute a
payment if its inaccuracy could not have been discovered within the fourteen (14) day dispute period, and a written notice of dispute
is submitted within fourteen (14) days of the date the inaccuracy could first have been discovered.

                  (d)     Final Pavment: Unless otherwise mandated by law, upon termination of this Agreement, Dynamex shall
have the right to withhold final payment of all service fees owed under this Agreement for a maximum of thirty (30) days in order to
allow Dynamex sufficient time to account for, calculate and provide a complete reconciliation of the amount of Contractor's final
settlement given any deductions, charge backs or offsets permitted by law or the terms of this Agreement.

                  (e)     Service Failure: In the event Contractor fails to fully perform a Contracted Service it is contractually bound
to perform (hereinafter a "seryice failure'), and the service failure is due to Contracto/s action or omission, Contractor shall forfeit the
related service fee. ln the event advance notice of the service failure is possible, but not provided by Contractor, Contractor may
additionally be charged liquidated damages in an amount of 1.5 times the amount of the original service fee to cover the cost of
ananging alternative transportation service, To the extent praclicable, Contractor shall be given an opportunity to cure any service
failure prior to Dynamex ananging altemative fiansportation service. The parties acknowledge that liquidated damages are
appropriate because actual damages are not reasonably ascertainable. Contractor agrees that such liquidated damages may be
deducted from any services fees, settlement amount or other amounts due to Contractor.

          6.      CO{IRA TORSBUSINESS

                  (a)   Business Licenses and Ooeratinq Authorities. Contractor wanants and represents that it is an
independently established enterprise (either a corporation, partnership, limited liability company, unincorporated business
association, or sole proprietorship) in the business of providing commercial transportation services under the business name
identified above in accordance with all applicable federal, state and local laws, including the requirement under the lntemal Revenue
Service ("lRS") regulations to obtain a Federal Employer ldentification Number ('FEIN #), if applicable. Contractor further warrants
and represents that it possesses and shall maintain at all times during the Term of this Agreement any and all motor carrier operating
authorities, permits, or licenses of any nature required by the DOT or the laws of any jurisdiction in which it operates required to
perform the Contracted Services (hereafter collectively "Operating Authorities"). To vertfi compliance with this Section, Contractor
shall fumish to Dynamex copies of all Operating Authorities prior to performing any services pursuant to this Agreement, or as may
otherwise be required by law. To ensure continuing compliance, Dynamex shall, upon request with reasonable notice, be entitled to
review copies of Contracto/s Operating Authorities from time to time, or as required by law.

                  (b)   Contractor's Personnel: As an independent contractor/enterprise, Contractor shall be solely responsible for
determining how to perform the Contracted Services and need not perform any services personally, but may hire or engage others
(as employees and/or subcontractors) to perform all or some of the Contracted Services (subject to all legal limitations).


                          (i) Contractor shall fumish at its own discretion, selection, and expense any and all Personnel required,
necessary or incidental to Contracto/s performance of the Contracted Services. Contractor assumes full and sole responsibility for
the payment of all amounts due to its Personnel for work performed in relation to this Agreement, including all wages, benefits and
expenses, if any, and for all required state and federal income tax withholdings, unemployment insurance contributions, and social
security taxes as to Contractor and all Personnel employed by Contractor in the performance of services under this Agreement, and
Contractor shall further be responsible for meeting and fulfilling the rcquirements of all regulations now or hereafter prescribed by
legally constituted authority with respect thereto. Unless mandated by law, Dynamex shall have no authority to withhold state or
federal income taxes, social security taxes, unemployment insurance taxes/contributions, or any other local, state or federal tax on
behalf of Contractor or its Personnel. Contractor indemnifies and agrees to hold harmless Dynamex and its officers, directors, equity




lC Agreement 20'13 Master
    Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 54 of 73 PageID #:142




                                                                                                            (including aftorneys'fees)
                                                                any claim, cost,,penalty' loss or expense
holders, members, managers, and Board of Managers against                                          personnel,   including for any taxes'
arising out of or rerated to contracto/s payment, nonp.v"r.nl
                                                                oi unaerpayment of confacto/s
                                                                                                or Contractor's   Personnel'
fines, assessments, payments, or fees (including
                                                 p.nritilt ,nJ interest theieon) for Contractor
                                                                                                    of the Personnel it uses to perform all
                                        shall be solely responsible for the direction and control
                           (ii) contractor
                                                        pl[onnel and Equipment it utiiizes to      perform    the contracted services shall
contracted services, and contractor certifies tnat al                                                  of  the  FHA' DoT' FMCSA and any
                                                                including tiie rules and regulations
meet all industry and regulatory standards ano qualifications,                                                      with any and all federal'
                                                               certifies that it has and witicontinue   to  comply
other regulatory body having jurisdiction. contractor further
                                                              perform background checks          and drug and alcohol screening of any
state and local laws and regulations requiring contractoi to
Personnel used to perform services under this Agreement. -contractor
                                                                             ag*tt ttt't all drivers provided will comply with theif
compliance, safety, Accountabitity (cSA) ltormery'Cin zoto;
                                                                  standaror-ino t               rt.r
                                                                                           agrees to notify Dynamex immediately
                                                                                    (sMS).-Failure  to adhere to the csA standards'
contractor receives .ny ni.rt         i.r.i
                                   siatuson ttre c5n-satetv Management system
                                                                                            requirements, or whose record does not
using a driver to perform contracted services *no r.irr [-'reei
                                                                  aii tegat ano regutatory
                                                        shall be a material breach of this Agreement'
comply with the Dynamex OVin-CSA policy and metrics

                                                                                                   bv fgfral state and local law (including
                               (iii) To ensure compliance with all driver safety standards imposed                       expectations and
                                                             ;;J;;yriril;' siate                    ind customer safetv
the rutes and regutations ot tne rHR, DOT, FMCSA                                 'eguLiory'uooy),                 and alcohol screening of
                                                                                 rnotoir.ili.r.         ano
specifications, contractor agrees to conduct uacrgrounJ
                                                             checks,   including                                     !ry
                                                                                                iioqlt, agrees to provide proof of such to
                                                                    under this-Agreement, and further
all drivers contractor uses to perform services torc cr.to*.,                                                         alcohol screening to
                                                   oynur.iio    .n   nge for suc-h background checks. and drug and
 Dynamex. Altematively, contiactor     authorizes
                                                                                                                     with any background
                                                                      Jnatt ne r.rpon.i"ut. for all costs associited
 be performed by a vendor of Dynamex,s-choosing. contractor                                                      request,  contractor shall
                                                            personnel, even if rn nt.a uy Dynamex. Upon
 check and drug and alcohol screening of contractori                                                               upon  execution    of this
 make available for inspection its records oemonstia=tinj compiianre
                                                                              *itn fire ioregoing requirements'
                                                                                                                      that  it is required to
 Agreement, Contractor shall detiver to Dynamex          ,nffi alt documentati:l ,.l1,ig^l:^C-ontracto/s    Personnel

                            the rules and  regulations of the appropriate   regulatory agenoes'
 ,,iUrit to Dynamex   under

                               Contractor,s personnel shall be expected to maintain
                               (iv)                                                      a professional appearance consistent with the
                                                                             ol. .oniign.it premises where services
                                                                                                                        are performed'
 standards in the commercial delivery industry while on the custome/s                                           serviced by contractor
                                                                      requirements  sfiecified'by the customers
 contractor further agrees to comply with the securiti io.ntitir.tion                                                    name'  logo or
                                                                                   Utt'ing the custome/s or Dynamex's
 (such as the need to carry or display an identificatil;;d;;a;.arapparel
 colors).                                                                                           perform the contracted Services'
                                            contractor utilizes the services of a subcontractor to
                               (v) ln the event
                                                                                  ntreement, which  contractor must make enforceable
                                                                the terms of this
  contractor,s subcontractor must satis! and compty with all of                                                      its request' The
                                                                     a copyof wnicfi must be provided to.Dynamex at
  by written agreement between conrattor ano tne suocontractor,                                                      of this Agreement
  parties acknowledge that the sole purpose of ttris requirem.ni[   to ensure contractor's compliance with the terms
                                                              services.
  and the laws goveining the subcontracting of transportation

                                                                                            of Contractor with Dynamex hereunder being-
                     (c)        Contracto/s lncome and pavroll Taxgq. ta) lfre relationship
                                                                                                  local income taxes nor payroll taxes ot
  that of an independent contractor, the parties t tty      uiiffioTai       neither federal, siate, nor
                                                                                                                                            contractor
                                       to F.l.c.A. or r.u.i.n.,    will be withheld   or paid by Dynamex on behalf of contractor'
  any kind, including but not limited                                                                                       payroll taxes  of any kind'
                                                                    taxes, including, uuinot    limifed to, sales   taxes,
  agrees (i) to pay all self-employment and other apii.rur.                                                                            and  all  workers
                                                                                  diiability insurance and estimates thereof'
  income taxes, social security taxes, unemplov*.nf inrrrrnce,'state                                                   govemmental      agency    having
  compensation insurance payments as may o. rcqri"J ,no9i
                                                                          tn. laws, ruleJ or regulations of any
                                                                                                                   thai  contraclor    has satisfied  its
  jurisdiction over contractor; (ii) to maintain sumcieniiecoros to enable Dynamex
                                                                                                   [o determine
                                                                                                                                      income    taxes on
   obligation to pay such taxei ino other paymentt,         ;;i''iitUproperly withhold and
                                                                                                  pay all local' state  and  federal
                                                                                                                           that the social security tax
   behalf  of contractor and  contracto/s  personnel, tolr,e     lit  nt nquireo uy tr*. Coniractor acknowledges
                                                                                                                     employee'
                                                                                                          were an
   Contractor must   pay  is            tne social security ta* Contracior would pay if contractor
                               niftittran
                                                                                              its understanding that Dynamex is not
                      (d)       No Unemolovment Comoensatiorl. Contraclor hereby acknowledges
   anemployerotcontraffiwithinthemeaningofthe.'unemployme.ntinsurance/unemployment
   compensation laws
                                                    aio, tneretore, ioniractor shall not be entitled to
                           of any state in which contracioi     performs service-s
                                          in relation to its performance of the Contracted Services'
   unemptoyment benefits or iontributions

                                                                                                       Dynamex harmless from all claims arising
                                                                                                                                                out
                      (e)    lndemnity. Contractor agrees to indemnify, defend, and hold
                                                                                                               attorney's fees and costs
                                                               it was an independent contractor, including any
   of or related to contracto/s representation to Dynamex that                                      premiied on  contractor's contention
                                                                           brings alainst Dynamex
   incuned in the defense of any unsuccessfut action oiclaim contractor




    lC Agreement 2013 Master
 Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 55 of 73 PageID #:143




                                                            not independent contractor' capacity'
that it performed the Contracted Services in an employment,

          7,      CONTMCTOR'SEQUIPMENT

                                                                                        warrants that it in the performance of its services
                  (a)   Vehicles and Transoortation "Equiomen{': contractor                                                             related
hereunder, contractor shall only use lawfully r.girt.r.ii:t',..n..d
                                                                         ,nd permitted vehicles, trailers, and other transportation
                                                                                                                               bv the customer
equipment (,,Equipment") tnui *LJirf iuguritory anO
                                                          #r;ity      ;;ilrOi,   as welt as  any safety standards  specified
                                                                                                                        in performance of this
                           shall direct, iri all respects, in. ori.i.tio,   and' maintenan.. of tn. equipment used
being serviced. contractor                                                                                        places   of repair' stopping'
Agreement, which direction-.rluri in.ruu., but not be iiritri-ir,
                                                                        r.action of indirect drivers, helpers,
                                                                                                                      8               parts and
parking, replacement, maintenance and purchases             .i il;i equipment, insurance       (subject  to Section
                                                                                                                 this
                                                                                                                         following)'
                                                                                                                      Agreement'     contractor
                                                                                     to  perform services  under
accessories. Addendum B shall identify the vehicle(s) .ilo.ut
                                                                   o nv bontractor
                                                                                                                                         agrees
                                                                          in the commercial transportation industry and' therefore'
recognizes the importance ;il.hi;6;pp.arance ind cleanlinesi                                                      whenever     used  to perform
                                                                 *itn lenerally accepted indusiry      standards
that all Equipment shall u.ln , .r.in tondition .onriri.nt                                                                      performance of
services under this Agreement.     Contractor     is ,esponiibie  for   il costs and exfenses arLing from Contracto/s
services under this Agreement, including, but not limitliL,
                                                                    ,oriti.irt d to_contracto/s peisonnel and Equipment' Except as
                                                                                     Equipment'
 oin.*r."qrired by iaw, Contir.tot asjumes all risk of damage or loss to its
                                                                                   agrees that it will          provide all tools necessary for
                   (b)  other Equipment: ln addition to the Equipment, contractor
                                                                                     iis own cost and expense, shipment handling
 providing seruices under this Agreement. contractor  rniiit ri'iin and maintain, at
                                                                                                                       to utilize'
 equipment, radios, cellular  telephones, beepers,            unJ any other type of equipment Contractor chooses
                                                         ..**tt,                                                      technology to
                                                                      device compatible with Dynamex s proprietary
 contractor shall provide a commercial scannei or othei communication                                                   may provide
 aflow contractor to handre and track shipments ,..orjing
                                                             ;'til lrrt*."'
                                                                          pact<agb tracking
                                                                                            .req.uirements -contractor
                                                                                                    terms and conditions set forth in
                                                            i;;il-Dilr*;x    for fairmarke"t value uider the
 its own scanner or may elect to lease such equipment
 Addendum D attached hereto.

                                                                                 regulatrons,.Contractor and Dynamex shall enter
                    (c)  DoT Equipment Lease.: lf required.under applicable DoT
                                                                                          shail rease the designated Equipment to
 into a vehicre Lease Agreement (contained h nooenium
                                                         e),          ;;,;6i
                                                                     contractor (Leiso0

 Dynamex (Lessee) for the period specified therein'

                                                                                        DoT regulations and guidelines, Contractor
                    (d)      DoT Requlation: Contractor acknowledges that under certain                                  E' and in
 may be operating      prrrurnito     urthrlty granted Dy;;;
                                    th-.                                    event, contractor agreeslo comply with Addendum
                                                                       l;"tr;h
                                                                                      the applliaule DoT regulations' including' without
  addition, Contractor agrees to provide to oynuru*'uiiit rs
                                                                     requrreq-under
                                                                                                                               shall further
                                                                     (wirrin 1 3 days of completion of the logs). contractor
  limitation, hours of service logs, toll receipts, ano tu.iiec.ipti                                              or return such inspection
                                            within 24 hourr oiunilnr'pr.tion, p.rio.o contiactor
                                                                                                   shall not sign
  provide inspection reports to Dynamex                                                                                            reports to the
  repofts to the FMCSA prior to submitting such report:1i      Dfi.ffi    upon.receipt, Dynamex shall sign and return such
                                                                                                                               DOT    authority or
  FMCSA in accordance with applicable regutations. confri.tor
                                                                    igreei, wnetner operating pursuani to       Dynamex's
                                                                                                          having  jurisdiction  over  Contractor'
                                                               Dynamex or any go'einment-agency
  its own authority, to create, maintain and make available to jirit.d                                              inspection   reports, vehicle
                                                                           to, drivei qualificatiorlfiteq vehicie
  documents required for DoT compliance, including nui not                                                                     further agrees to
  maintenance and repair reports, daily driver's logs, norrt of
                                                                   service, and vehicle condition reports Contractor
                                                                                                                is operating    under its own or
  maintain its own IFTA documents and lRp trg.          r.quir.iuvl.* regard.less of whether contractor
                                                       ,,
                                                                                                 contracto/s  equipmeni      and  records for the
                                                                ,irjnt t. pliiooi.utty  inspect
   Dynamex,s Dor authority. contractor grants Dynam-el-tn.                                                         Regulations    at 49 cFR Part
                                                                do    guidltines.   Ai  specified in the Leasing
   sole purpose of observing compliance with such
                                                     "gri.tio;. oofregutations and'guidelines require Dynamex to verify the status of
   376.12(c)(a), the parties icknowledge that to the exteniine                                                                       by Dynamex
                                                                              law and dinot constitute an exercise of control
   Contractor's equipment .nOioi r..orOr, tnese actionJa" *rnJrt.OiV                                                  do  not  alter contracto/s
                                                                      J b.iro.s.      consequently,    such actions
   over contractor,s business or its performance of tne-boniiu.t
                                                        op*i.g';.dlr   itr o*n opurSting aLithority, carrier shall render such transportation
   status as an independent contractor. lf canier ir                                                                   and/or state authority
   services as     a   motor canier under usDoT             #:-------                !MC#         pursuant  to Federal    and/or State Statutes
                                                                                          carrrer
  #_,                           and shall proviae contractErriaflas an zutnorized
   and Regulations.
                                                                                               --,
                                                                                                for all costs and expenses incident to the
                       (e)   Costs and Expenses. contractor agrees to be responsible
                                                                                                                including, but not limited to'
                                                               in tfie performan-ce o.f its services hereunder,
   ownershipirental and operation of all Equipment used by it
                                                                               tolls-' flnes' penalties' maintenance and repair
                                                                                                                                  expenses'
   rentat fees, registration fees, license fees, inspectii;i;;;,
                                                                       i,il;'ce,
                                                                                                 tire expenses'
   piyr.ni oJ itr fiurchase p,i.r,   rt.i.
                                         ot p.ttonrl property or sales taxes and fuel, oil and

                       (0                                                             delivery personnel entering their premises to
                              security ldentification/signage. Many customers require




   lC Agreement 2013 Master
    Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 56 of 73 PageID #:144




                                                                                                                                      provider'
                                                sionlog-tfr the purpose  -uv of identifying
                                                                                            the individuar as a professional delivery
dispray some form of security identrfication 9i                                                                        signage on  contracto/s
                                                   ,.qri,.i'rr},',rlr!i      .r.tor.i     uii .uvln.iro.    displaying
The specific nature of the secunty identification                                         o; corit".toi s personnei (while on the customer's
derivery vehicre or the carrying and/or dispraying
                                                    of ,  .#,ili  io.rirr"'utio,  urog.
                                                                                                        this Agreement, contractor agrees to
                                                   contractor chooses to seniice-unoer
premises). To the extent re[uireo uy tne tuitomers                           to obt'in                         p'itnt   cost for all appropriate and
comply with the customers' security identification
                                                   ,.quir.r.ntr, and furthe*g*tt                        'nOreiponsibility and shall bear the cost
customer_required security signage for the
                                             Equipm..t."b..irJ.i*          ,gi;
                                                                           thit iil,urinu             ior.
                                             and  removins  such signase
ffi;;p;;;J;iprinting, 6otiini,s, affixins,
                                                                                                                  in a brand promotion
                                                                         and coniractor chooses to participate
                   (g) Brand promotion: lf .Dynamex makes available,                                    signage  and/or other branding
                                           is paid a uil.,i prJ,i,.ti., 6. in .*.nun!.
                                                                                        tuioitpru,,ing
and marketing program, wnereby contractor                                                                    piogram shall be strictly
                                     the  parties                itrat contractorr i.'tiuprt'b.''n tytn
                                                          ,.k;il;;;
elements on contractor,s Equipment,                                                                              specific terms of the
voruntary. rn the event the'parties enter into
                                               , nonl-pffiiion/marketing .uung;ilt               this  kind,
                                                                                                         of  the

;;;;;;;,..irhait ue set torti,in , ,.pr*t agreement or Addendum
                                                                 to this Agreement.


            8.      INSUMNCE
                                                                                                               contracted Services'
                                                                          uses Personnel in performance of the
                    (a)     commercial Ggner:al |,iabilitv. lf contractor
 ContractorshallobtainanffithetermofthisAgreementcommercialgeneralliabilityinsurance0nan
                                           riauiritv rir iooii, i.irw ilo.n, ;;;il
                                                                                                                            costs'
                                                                                   and persorial injury, including defense
         form providing coverage for tegat
 occurrence                            -contractuir                                                                insureds' cross
                                                            riril'ilii'.ripi6f.i*i        indepJndent contractors as additional
 broad form propefty oarage,'biold torm                                                                          operations' coverage           limits
                                                  and ar rosses    irr.ind o,it of o, .onn..i.o'*ith contracto/s
 riabirity and severabre riaoirit,, Jause for any
 shall be at least $1,000,000     per occurrence'


                      (b)CommercialAutgl=iability....Contractor,atitsexpense,shallcarryandkeep-infullforceandeffectforthe
                                              Auto Liabitityin;;;;;;; .ou.nni eodtrv i;lury
                                                                                                 ;nf eroperty Damage, with a limit of liability
  duration of this AgreemenlFmerciat                                                   gro; ;unuiacturbft uehicle weight of 10'000 pounds
                                               Limit Corr.irirf io, vehicles *itn
  not tess than $300,000 Combined Single                                        '               *tight of 10.'001 pounds or greater regardless
                                                    to, ,.f,i.i., *tn u!,o.t
  or tess, (ii) g1 ,000,000 c.rOi..JSirg]. firit                            'u1'f"t'*i't            "poricv                 (and retated certificate
  whether operating ,n0., i.riiurtoi;r", oynu*9r, .o"iii
                                                                  .#r,r,i;;ih;;it       Ealn  sucn           of insuiance

  of rnsurance) shal name Dynamex as an Addiiionar
                                                              rnsured. rf iontractor   rr.r     ,."   irl*
                                                                                                         ohe vetricte  to  oerform
                                                                                                                          provide
                                                                                                                                    the contracted
                                                                                                                                   Dynamex    with a
                                                                                                      uao,    agrees  to
  services,    coverage   must a[pry to a, other owned or iii*o *o      .."owneu veniies. cont
                                                                                                                                       shall require
                                         ,, evidence of   .rrn'Nr*rr...      ircrr sucr, insuiance folicy obiained by contractor
  customary certiflcate ot rnLirin.,                                                                                   termination or cancellation
                                                (30) oavs wirtten noiice ot rny .nung.s'in ior.iug.,'.*piration,
  the insurer to provide Dynamex with thirty                                                    inanggs-in  coverage' expiration' termination or
  of such insurance, contractor agrees to           irr.oi.i.rv noofy.DF;;i          ot
                                                                                          !1y                  as it applies             to Dynamex'
  cancellation of such insurance. All such insurance
                                                      ,riitri..,i by'contractor snitt provi"oe that insurance'
                                                                                                       Dynamex   maintains'
                                             shail be .;;;;;ibrfig not'vitnstanoing
                                                                                       any  insurance
  shall be primary ano oynaire*;s insurance
                                                                                                                  "on dispatch" liability
                              .on                                              at.contracto/s option, to purchase
                      (c)        Dispatch,, lnsurance... contractor may elect,
                                                                          *ni.n,insuianc..un u. purchased to insure
                                                                    Dy#li-,                                            certain types of
   insurance through an insilriieiarrier made
                                                   avairali;;;
   vehicles during the time ,sJ'to petroim transportaion
                                                           stt'it6t brokered andior subcontracted by Dynamex'
                                                                                                                                at its own   expense,
           (d) Worke/S Comoensqtion lnsurance/occupatignal A-ccjdent lnsurance. Contractor,
   agreestokeepinfullfornsationlnsurancecoveringStatutory
                           timit of tiabil'r{;i;;il*; il;.-gioo,ooiip.i
                                                                        u..io.i,t, $500,000 policv limit' $100'000
                                                                                                                   per
   Benefits and Emptoyers Liabitity with a                                                          liability of $1'000'000 from a company
                                                                                                                                             as
                                                    (occAcc) with a minimum aggregate limit of
   emproyee; or occupationlffi.ii*i rnsurance
   set forth in section (e). contractor shar indicate
                                                      ,,.lL'JrlJ,i,. r#ffi       fi;i;rtg.int on Rddendum c attached         hereto' contractor
                                                                                             frorke/s compensation and Employers Liability
   agrees to provide Dynarn-e-x;,i; ;     ;.iilr, certincate oiinrrrri*      as evidence"of
                                                                                                                         provide Dynamex with
   lnsurance or OccAcc tnsurance. Each insurance            fi;y ffiffi   U1Cry3t,1tt tf'aiitq'itt tne insurer to
                                                                                                                 of such insurance' contractor
   thirty (30) days written notice of any changes
                                                     in    c#ir!.,  expiratl0.n, terminriion-0,. canceration
                                                                                                       such insurance. contractor may, at
                                                                       ielmination,.or .un..ttuiion of
    agrees to immediatery notify Dynamex of any           "-ilt.;;,                                          offer such,coverage to other Contractors
    Contracto/s optton, purch# oJcncc insurance
                                                tt.L          .tv'lt'itJ                                           Dynamex contractor
                                                                           made avaiiab-le-6y that carrier through
                                                    proce-ssing piocedures'ry':9:q.:?i'itiititn't               -benefits
    doing business wrth Dynamex. subject to                                                                       arising out of the
    agrees to assume the tiability for the
                                           payment ot anv vfioi*e/s compensatr,               ;;;i,',;
                                                                                             claims' and/or
                                                                                                                 board  of managers
    conduct of contracto/s business, and to indemnify
                                                            ii.r'i*
                                                                 ,.0 ii; Jffffi,;idctors, members' managers' and

                                                          the same'
    iot rny issues, disputes, or benefits associated with
                                                                                                                                  and its
                                                                              qualification, to cooperate with and assist Dynamex
                        (e)     Legal cooperation, contractor agrees, without




     lC Agreement 2013 Master
 Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 57 of 73 PageID #:145




                                                                                                                  in the course of
                                                            or its. insurers, arising out of events wttich occur
chosen attorneys in the defense of lawsuits against Dynamex                                               out of pocket  expenses
                                                             contractor for reasoiable and necessary
contracto/s business activities. Dynamex agrees to ni*urrr.
incuned wtrile assisting in the defense of such lawsuits'
                                                                                                                         a rating
                                                                      procure insurance from an insurance company having
                    (f)     lnsurance Companies. Contractor agrees to
of "A-'or better bY A.M. Best.
                                           ,,on                                                   signing and dating the Authorization
                    (g)     suoplemental          Digpatch".lnsurance. At Contractor's option, by
                                                                                                                      vehicles used to
immediately below, contrachr may authorize         tn purchffi=:upptementar "on di$atch" insuranie coverage for all     will be automatically
                                                                                     qh dispatch" liabrlity insurance
perform services prrruunt to1ni, Ideement. ft airtnori]ei U.fo*itrppfurqtll
                                                                                                    liability insurance lapses or othenivise
purchased in singre weet< oi i-*..-k in.rrrn.nts to,. .ny'"uielii.i-"ilirl.
                                                                              *ni.n  contracto/s
                                                        g(6) aL;ve. contractor's purchase of supplemlntal "on dispatch" insurance in
fails to satisfy the requiremerit, ,.t tortn in section
                                                                   .ni, tn.r.ior.,, th.   frilrt triggering Contracto/s purchase of the
such instances shall satisfy the requirements ot sectil,n?tl
                                                                            breach   of this Agreement'
 rrppfu*..ta 'bn dispatch" iniurrn.. shall not alone constituie a material

                          nrtfto.ir"tlon for Purchase of Supplemental "On                  Ditlth" In"'='""
  I hereby authorize the purchase of supplemental 'on dispatch" insurance
  .or.og1, foreach week or 2-week period in which.my liability insurancelails                        Contractor's Signature
                                          g(b) for each vehicle used to perform
  io ,rtir"tv all requirements of section
  servicespursuant to this Agreement during the same week'                                                   1013112014


                                                                                              and hereby acknowledges that it is free to
                    (h)  lnsurance purchased Throuqh pyname.x. contractor understands
                                                                            from   the insurance canier and/or broker of its choice' and
 purchase any and all insurance policies required unoeitn:rs-ngreement
                                                                                                        by Dynamex's insurance broker'
                                            form of insurance irorln inrrran.a canier made available
 that il Contractor elects to purchase any-business
                                                                                                  Dynamex   to deduct the cost of such
 it does so voluntarily and for its own              ,.rroni, ano nereny authorizes and directs
                                                                                           per{ormed pursuant to this Agreement'
 insurance premiums from the setilement payments o*.Jio Contiuctor
                                                                         for ttre services


           g.                                                              and hold harmless contractor from and against any
                     INDEMNIFICATION: Dynamex agrees to indemnify, defend,
                                                             ihil    ..;
                                                                   prtty ,g'inst Contractor resulting from Dynamex's breach of
 and all claims or suits for inlury, death or property orrrg."o;                                                  agents or employees'
                                                                  acts or omisliois, and/or those of Dynamex's
 this Agreement or oynameiG'intentionat br negtigent oi*irrirr                                           related   companies and their
 Contractor agrees to indemnify, defend and hold         ha;h;;  Dyn"t* and its parent' subsidiary and
                                                                                         against any and all claims  or suits for injury to
 employees, officers, directors, managers, members, ,nl Uoi..O'tf
                                                                                from and
                                                                  'anagers and/or sub---contraciors or loss of or damage           to their
 or death of contractor, its agents, representatives ,r.Jt.rjr, .rprov..t                                                 to property of
                                                         o, sr-itsioi inj'l,ty or death to person or loss of or,damage
 property and from ,no .g.iniiuni und ull oth.r rraims                                                                           of this
 Dynamex or Dynamex's *rt.r.fu agents, membe;t;                 ;d;y..;
                                                                      oi riy tnitO party, resulting   from  Contracto/s  breach
                                                                                                                             assistants'
 Agreement or contracto/s intentional-or negligent *tr oi oini$ions,
                                                                              ind/or itrose of its agents,  representatives'
                                                                                                                       from any and all
                              personnel, anolor iun-contra.jo". ovnrr.x shall have the right to set off and deduct
 employees, contract support                                                                                Dynamex  or  any third party
                                                            or uny uu*rgu, loss or liabilityincurred     by
 amounts owing from oynamex to contractor tne turr varue -uy-Cbniii.to",                                                                or
                                                                                  or its agents, iepresentatives, assistants, employees
  ansing out of any negtigeni or intentional act or o*irllon
  subcontractors.

                                                                                 at its expense, agrees to carry and keep in
            10.      CoNTMCTOR,S LIABILIW FoR CARGO/PACKAGES: Contractor,
                                                                                   cargo Liability insurance in an amount not
                                               nroioiir.n caroo-
  full force and effect for the duration of this Agreement
                                                                 a1-olg1 Financial
                                                                       .*...0"$too.oo per occurrenie for the   handling of general freight'
                                                   i
  less than g10,000.00 pur. o..rrr.n.. with deductibi" noi to                                                    freight and $50'000 per
                                                                gtoo.oo for the handling of
                                                            .r...0                               pharmaceutical
  $2s,000 per occurrence with a deductible not to                                                   loss or damage  to the Packages which
                                                                        of retail freight' cSvering
  occurrence with a deductible not to exceed $100 00 toi t-f" h'nOfing                                                         in the event
  are in or subiect to the care, custody and control or contiu.toi
                                                                   indrequirementin ihe previ6us sentence shall not apply
                                                                           and does not use subcontractors       or  employees   in fulfllling
  that the contractor operates a singre vehicle of rooiio rns or less
                                                              provide Dynamex with a customary certificate of lnsurance
                                                                                                                               as
   contracto/s services under this Agreement, contircto.inall                                      require the insurer to provide
   evidence of such insurance and deductible. Each .r.r,       l.r*.J
                                                               poii.v onirinro by contractor shall
                                                                                                                     of such insurance'
                                                                  coverage, expiration, termination or cancellation
   Dynamex with thifty (30) days written notice of any.changes in                                            whether   or not the loss is
                                                                            shipped under   this Agreement
   Contractor shall be liable to Dynamex for loss ot Oarnaie to eacfag;s                                     possession, and control of
                               packages picked up n}, conffioi snatt uioeemeo    to be in the carel custody,
   covered by the insurance.                                                                                                       agent'
                                                              ;J;;pGo  uy, tn. designated consignee, recipient, or its authorized
   contractor until the same shall have been delivered d;




   lC Agreement 2013 Master
  Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 58 of 73 PageID #:146




Contracto/s care, custody, possession or control, Contractor shall notify the shipper and/or Dynamex of the damage or loss as soon
as practicable after damage or loss occurs. lt is Contractor's responsibility to complete accepted transportation services and make
any corrections w1h respect to customer expectations. lf it should become necessary for Dynamex to intervene due to Contracto/s
                                                       Conkactor, Dynamex reserves the right, upon notice,.to setoff unavoidable costs
iniUitity or refusal to complete services accepted by'Contractor
againsi any settlement payments due Contractor.                  agrees to cooperate with Dynamex and/or the shipper to resolve cargo
cliims/damages as quickiy as possible and agrees that in the event Dynamex is held liable for any loss or damage to any ltem
caused by iontractor,s intentional or negligeit acts or omissions, Dynamex shall have the right to recover such amount from
Contractor.

          11,    CONFIDENTIAL INFORMATIONNON-SOLICITATION: ln consideration of the parties' desire to establish a
business relationship, and Dynamex's agreement to provide Contractor with confidential proprietary information acquired or to be
acquired or developed by and belonging io or relating to Dynamex or customers of Dynamex or any of its wholly owned subsidiaries
                                                                                                                            prices
inctuOing, but not iimited to, the namei and addresies of its customers and suppliers; technology used; route information;
charged and paid and other information, data, and documents       now  existing  or previously developed or acquired  by Dynamex
custjmers, and Contractor's recognition that the secrecy of such confidential information gives Dynamex a significant advantage in
developing, marketing and maintaining Dynamex's business. Contractor agrees that:

                  (a)     lt will not directly cause, permit or aid in the disclosure to or use by any person, corporation, or entity of any
confidential intormalion, at any time, for whatever reasons, except as required by law with prior written consent by Dynamex;

                  (b)     That during the term of this Agreement and for a period of six (6) months thereafter, Contractor shall not
either direcly or indirecfly either for itself or for any other person, firm, company or corporation, use such confidential proprietary
information to solicit, divert, or take away any of the customers of Dynamex;

                  (c)   ln the event of a breach or threatened breach by Contractor of any of the provisions of this Section,
Dynamex shall be entitled to an injunction restraining Contractor from disclosing or using any such confidential proprietary
iniormation. Nothing herein, however, shall be construed as prohibiting Dynamex from pursuing any other remedies available to it for
such breach or threitened breach including, but not limited to, recovery of damages, costs and attorneys' fees,

          12.     TERMINATION OF AGREEMENT

                   (a)    As the master contract setting forth the terms applicable to all Contracted Services, this Agreement shall
remain in full force'and effect until terminated in accordance with one of the following options, with early termination resulting in the
penalties described fufther below:

                          (i)
                            Subject to any term or other limitation contained in a valid and effective Addendum to this Agreement,
this Agreement may be terminated without cause by either party upon thirty (30) days' prior written notice to the other, with the date
of mailing commencing the notice penod;

                          (ii)      ln the event a party commits a Material Breach of this Agreement, the other party may terminate this
Agreement immediately upon written notice to the breaching party, with such notice specifying the breach relied upon.

                    (b)    Early termination of this Agreement by either party without proper notice (as established in subsection (a)
above) shall result'in liquidat'ed damages of $100.0-0 for each day that notice is not properly provided, up to a maximum amount of
$500.00. The parties acknowledge ihat liquidated damages are appropriate because actual damages are not reasonably
ascertainable. A party that receives notice of termination must continue to fulfill its obligations under this Agreement for the entire
notice period, with the failure to do so constituting early termination subject to the foregoing liquidated damages provision.

                    (c)   The following is a non-exhaustive list of acts, omissions and occunences that shall individually constitute a
"Material Breach" of this Agreement:

                          (i)       failure by either party to carry and keep in full force and effect at all times during the Term of this
                                    Agreement the policies of insurance required by this Agreement or as required by law;
                          (i   i)   C6nkactor willfully fails or refuses to perform Contracted Services it is contractually bound to perform;




lC Agreement 2013 Master
Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 59 of 73 PageID #:147




                                                                                                                                      by the
                                                                                  laws regulatlng transportation services' including
                        (iii)   violation of applicable federal, state and local                                       in the performance  of
                                                                                   o, Coniiuttoit Personnel while
                                oroven use of drugs or alcohol by Contractor
                                bontracto/s services under this Agreement;                                         or contractor's Personnel
                        (iv)    operation of a vehicle *hib    ;;;ffi;    the services hereunder by contractor
                                                                                                     as required by law;
                                without a valid and  .rn  nt ,lrrlrciai or otner   driver/s license
                                                                                              of action under any bankruptcy related law or
                                the filing by or against eit#    pa,tv of a claim  or cause
                        (v)
                                                                                                                                   by
                                                                                        or federal motor canier authority required
                                 ;iil[t't,   contractor to maintain any necessary state
                                                                                           Agreement;
                                 ffiili.     L*to ttansport or deliver Packages under this
                                                                 ,ni  *tisty ltt requirementsimpoteo  by federal transportation laws and
                         (vii) failure by contractor to .orpr}/                                                     and csA Policv and
                                                           ;ii:r*          ;ih"iil.;;;;/v;nicre     iiamination Report
                                 resutations, inctuding
                                                                                           party to the other      party;
                         (viiD   il;;o/r,ilg ;trf.. oifr.rrO-rt.nt Uocumentation by either
                                                                                                     amouni within seven (7) days of
                                                                                               itftft"nt
                         (ix) faiture of Dynamex       t
                                                       prv         Ci.ii..t,
                                                                         any unOisputel
                                                                                        contractor;
                                                  of writdn notice of late payment from
                                 ;i;;;;r;;..eipt                                            operate contractor's business; including
                         (x) fallure of Dynamex to ,r[*iontructor io'independently of contracto/s business; and/or
                                                                                  over as[ects
                               interference by Dynamex *in contir.tors control
                                                                                                       this Asreement' ir such breach is
                         -,
                                 n[:ruil#;l;d.?d::isfl:[H'.',*,[#*::lagmor
          13'WAIVER:Thewaiverofabreachofanyoftheterms''.?i9,I::,'.j:.reofshallbelimitedtotheactoracts
                                                   as a waiver of future acts or happenlngs'
constitutingiuch breach and shall not be construed
                                                                                                  and are not to be considered
                                                               been inserted for convenience only
            14.   HEADINGs: The headings set forth herein have
when construing the provisions of this Agreement'
                                                                                                         regard to the conflicts of laws
                                                                   residence of the contractor' without
            15.   GOVERNING         LAW: The laws of the state of
                                                                                                the rights ind remedies of the parties
principres thereof, srrarrgovei thi,     Ag;;;t,   incruoinglts.oritrr.tion ano inteipretition,
hereunder, and ail craims, controversies or oisputes 1v,ili&i'Jr
                                                                          ffii,,iJil;i;;.i ;;ffi;
                                                                                           uetween th; parties The parties voluntarilv
                                                                                           any dispute pursuant to the terms of section
                                                  suit nrbJ nerernoer ind agree to rerotr6
agree to waive any ,igr,t to ;i;Li tt rurv in ani
16 below.


            16.      ARBITRATION PROVISION:
                                                                                     between the parties, the     parties agree to resolve the
                     (a)        Arbitration of claims: ln the event of a dispute
                                                                      provision"). rnisniuitration Provision is governed by the
                                                                                                                                    Federal
                                                    'tn. nioitirtion
 dispute as described in this section (hereafter                                                   or Dynamex arising  out of or  related to
                                                        any dispute brought Ut-tl,'lt-t Contiucto'
 Arbitration Act, 9 U.S.C. S 1, et seq., and applies to                                                       or the service  arrangement
                                                                (incruding termination. oitne retationship;,
 this Agreement, contractoiiJr.rrii"rinip *itn oynrr.*                                 O'it"tuOing all claims that may be adjudicated
                                                                                                                                           in
 contemptated by this   egre;m.ni,l..frOi,ig               ifri*   u,il   ;#;"ilitp'ttt,                                                 ends'
                                           "r,go
 smaltclaims court. The provisions of this Arbitration
                                                              iji*rioilnru remain in toic. art.rthiparties contractualrelationship
                                                                                                                     THAT ALL sucH
 By AGREETNG    To   ARBITMTE      ALL   sucH    orspLie;,           in-i ,*tt.-t-19, rirrs ncndeMENT AGREENor           BY wAY 0F A
                                                       BrNDil;ihBrinnriorEeronE ntt nne.'MToR
                                                                                                                   AND
 DrspurEs wrLL BE RE..LVED T*RoucH
 COURT OR JURY TRIAL.
                                                                                                below'           claims involving the following
                                (i) claims covered By Arbitratior] PrgYision: Unless carved out
 disputesshallbe,,u1..tt[,,,lgardlessofwhetherbroughtbyContractor,Dynamexorany
                                                               it' tnis,ngreement 1?)dl:ry9,:,::sino out of or
                                                                                                                  related to
 agent acting on behatf of either: (1) disputes *iring
                                                       ;i'oioi                                    oui of or relating to the
                                                               ot"iui.O
                                                                   the relationshipl and (3) disputes..arising
  contractois relationship with Dynamex, including t.l.,nltion                                                         of the Arbitration
  interpretation or appricaton oiini, nmitr.tio,
                                                 prri.i..,Jri
                                                      'inii                *t
                                                                    .. to tn. untii.truirity, revocability or validity
                                                                       provision
                                                             nititrrir..         aiso apprils, without limitalion' to disputes regarding
  provision or any portion oiine nruitration provision.
                                                      t"O.'t",ii.L,  unfair competition' compensation' meal or rest periods' expense
  any city, county, state oi t Ouiuf-*.ge-hour law,                                         and claims arising under the Uniform Trade
  reimbursement, uniform maintenance, training, terminJtion,
                                                                      Ait.ii*inutio*' f'tt"t*uni
                                                                                                         Leave Act' Fair Labor
  Secrets Act, Americans With Disabilities Act,
                                                nge"pis.r*nrtion in empUyment Act' Family Medical                          if any'
  standards Act, Emproyee Retirement rncome security-n.i,
                                                          C..tii. tnformatron tlon-oisirimination Act' and state statutes'
                                                                                                                       (excluding
                                                                                                    and common law claims
                                                    ano Jtt oinersimilar federal and statestatutory
  addressing the same or similar subject matters,
                                                     and unemployment insurance claims)'
  workers, compensation, state disaoility insurance




   lC Agreement 2013 Master
  Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 60 of 73 PageID #:148




                             (ii) Limitations On Application 0f This Arbitration Provision: This Arbitration Provision does not apply to
 claims for workers compensation, state disability insurance or unemployment insurance benefits. Regardless of any other termi of
 this Arbitration Provision, claims may be brought before and remedies awarded by an administrative agency if applicible law permits
 access to such an agency notwithstanding the existence of an agreement to arbitrate. Such administrative claims include without
 limitation claims or charges brought before the Equal Employment Opportunity Commission (www.eeoc.gov), the U.S. Department of
 Labor (www.dol.gov), the National Labor Relations Board (www.nlrb.gov), and ilre Office of Federal Contract Compliance programs
 (www.dol-goviesa/ofccp), Nothing in this Agreement shall be deemed to preclude or excuse a party from bringing an adminis[rative
 claim before any agency in order to fulfill the party's obligation to exhaust administrative remedies before making a claim in
 arbitration.
                             (iii)         class Action waiver: contractor AND Dynamex AGREE To BRING ANy
 DISPUTE IN ARBITMTION ON AN INDIVTDUAL BASIS oNLY, AND NoT bru e                                         cuss,         coLLEcTtVE, oR
 PRIVATE ATTORNEY GENEML REPRESENTATIVE ACTION BASIS. ACCORDINGLY:

                                     (A)    There will be no right or authority for any dispute to be brought, heard or arbifated as a class
 action ('Class Action Waive/'). The Class Action Waiver shall not be severabl'e from this Arbikation Provision in any case in which
 (1) the dispute is filed as a class action and (2) a civil court of competent jurisdiction finds the Class Action Waiver is unenforceable.
 ln such instances, the class action must be litigated in a civil court of competent jurisdiction.


                                     (B)   There will be no right or authority for any dispute to be brought, heard or arbitrated as a
collective action ("Collective Action Waiver"). The Collective Action Waiver shdl nbt be severable from tlis Agreement in any case in
which (1) the dispute is filed as a collective action and (2) a civil court of competent jurisdiction finds the Coliective Action Waiver is
unenforceable. ln such instances, the collective action must be litigated in a civil court of competent jurisdiction.

                                     (C) There will be no right or authority for any dispute to be brought, heard or arbitrated as a
private.attomey general representative action ('Private Aftomey GeneraiWaivei). The Private Attomey General Waiver
                                                                                                                                shall be
severable from this Agreement in any case in which (1) tre dispute is filed as a private attorney general aition and (2) a civil court of
competent jurisdiction finds the Private Attomey GeneralWaiver is unenforceable. ln such insiances, the private'aitorney general
action must be litigated in a civil court of competent jurisdiction.


                      (b)        Arbitration Procedure: Except as provided in this Arbitration Provislon, any controversy or claim
covered by this Arbitration Provision shall be seftled by arbitration administered by the American Arbitration Association
                                                                                                                             1"nnn'; anO
shall be held in accordance with the applicable AM Arbitration rules. These rulei are available at www.adr.org. The Arbitrator'shall
be selected by mutual agreement of Contractor and Dynamex. Unless Contractor and Dynamex mutually agree othenrise, the
Arbitrator shall be an attorney licensed to practice in the location wtrere the arbitration proceeding will be conducted or a retired
federal or state judicial officer who presided in the jurisdiction where the arbitration will be conducted. tf for any reason he parties
cannot agree to an Arbitrator, either party may apply to a court of competent jurisdiction with authority over the location where the
arbikation will be conducted for appointment of a neutral Arbitrator. The court shall then appoint an Arbitrator, who shall act under
this Arbitration Provision with the same force and effect as if the parties had selected the Arbitrator by mutual agreement. The
location of the arbitration proceeding shall be no more than 45 miles from the geographic area where Confactor performed delivery
services arranged by Dynamex, unless each party to the arbitration agrees in writing oifrenvise. lf Contractor no longer resides in the
general geographical vicinity where Contractor performed delivery services, Contractor and Dynamex
                                                                                                         shall agree tda location of the
arbitration within 45 miles of where Contractor resides, provided- it is within the same state in which Contraitor performed delivery
services arranged by Dynamex. ln arbitration, the parties shall have the right to conduct adequate civil discovery, bring dispositivi
motions, and present witnesses and evidence as needed to present their cises and defenses, and any disputes in this regard shall
be resolved by the Arbikator.

                     (c)        ttlaking A Demand For Arbitration: A demand for arbitration must be in writing and detivered by hand
or first class mail to the other pafi withln the applicable statute of limitations period. Any demand for arbitrition made to Dynamex
shall be sent to the same location identified in Section 18 below (Notice). ihe Arbitraior shall resolve all disputes regarding the
timeliness or propriety of the demand for arbitration.


                     (d)     Attomey's Fees and Arbitration Costs: Each party shall pay the fees for its own attorneys, subject
to any remedies to which that party may later be entitled under applicable law. Costs incidental to the arbitration, including the iost
                                                                                                                             -otherwise
of the Arbitrator and the meeting site ('Arbihation Costs") will be bome by Dynamex and Contractor equally, unless
required by applicable law. Any dispute regarding a party's obligation to pay Arbitration Costs shall be determined by the Arbitrator.




lC Agreement 2013 Master                                            10
   Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 61 of 73 PageID #:149




ln the event Contractor contends that, as a matter of law, it is not responsible for payment of any Arbitration Costs, Contractor shall
have no obligation to pay any portion of the contested Arbitration Costs until, and only if, the Arbitrator determines that Contractor is
responsible for the costi. lf necessary for arbitration of the dispute, Dynamex agrees to cover the amount of the Arbitration Costs
contested by Contractor until such time as the Arbitrator determines payment responsibility. lf the Arbitrator determines that
Contractor ii responsible for any amount of the Arbitration Costs already paid by Dynamex, Contractor shall remit payment of that
amount to Dynamex within 30 days of the Arbitrator's determinaiion.

                       (e)     Post-Arbitration Procedures: Within 30 days of the close of the arbitration hearing (which period may
be extended by stipulation of the parties), any party shall have the right to prepare, serve on the other party and file with the
Arbikator a post-arbitration brief. The Arbitrator may award any party any remedy to which that party is entifled under applicable law,
but such remedies shall be limited to those that would be available to a party in its or her or his individual capacity in a court of law
for the claims presented to and decided by the Arbikator, and no remedies that otherwise would be available to an individual in a
court of law will be forfeited by virtue of this Arbitration Provision. The Arbitrator shall issue a decision or award in writing, stating the
essential findings of fact and conclusions of law. Except as may be permitted or required by law, as determined by the Arbitrator,
neither a party nor an Arbitrator may disclose the existence, content, or results of any arbitration hereunder without the prior written
consent of the parties. A court of competent jurisdiction shall have the authority to enter a judgment upon the award made pursuant
to the arbitration.

                       (0     Application to Existing Claims and Controversies: This Arbitration Provision is intended broadly to
apply to all controversies hereafter arising out of or related to the parties' relationship or Contractor's performance of services for
Dynamex or its customers, as well as any existing controversy that has arisen from the parties' relationship or Contractor's
performance of services for Dynamex or its customers, as is permitted under Section 2 of the Federal Arbitration Act.


                       G)        Qpt0ut Provision: lf Contractor does not want to be subiect to this Arbitration Provision, Contractor
may opt out by notifying Dynamex in writing of Contractor's desire to opt out of this Arbitration Provision, which writing must be
dated, signed and submitted by U.S. Mail or hand delivery to Dynamex at the address indicated in Section 18 below (Notice). ln
order to be effective, the writing must clearly indicate Contracto/s intent to opt out of this Arbitration Provision and the envelope
containing the signed writing must be post-marked within 30 days of the Effective Date. Contractot's writing opting out of this
Arbitration Provision will be filed with a copy of this Agreement and maintained by Dynamex. Should Contractor not opt out of this
Arbitration Provision within the 30-day period, Contractor and Dynamex shall be bound by the terms of this Arbitration Provision.

                        (h)  Right to Consult with an Attorney: Contractor has the right to consult with private counsel of
Contracto/s choice with respect to any aspect of, or any claim that may be subject to, this Arbitration Provision. Subject to the
exceptions listed in Section 16(a)(iii)(A)-(C), in the event any portion of this Arbitration Provision is deemed unenforceable, the
remainder of this Arbitration Provision will be enforceable.




     I hereby certify that I have read the above                           I

     Arbitration Provision and understand that it will                     I

     apply to me unless I choose to opt-out as                             I               Contractor's
                                                                                           Contra       Signature
      explained       above.
                                                                           I
                                                                           I
                                                                                Date:

            17.    ENTIRE AGREEMENT: This Agreement and Addenda hereto constitute the entire agreement of the parties
relating to the subject matter hereof and supersedes any and all oral or written agreements or negotiations relating to any such
subject matter. Each party to this Agreement acknowledges that no representations, inducements, promises or agreements, oral or
otherwise, have been made by either party or anyone acting on behalf of any party hereto which are not embodied herein. This
                                                               -
Agreement supersedes any prior agreement between Dynamex, its predecessors, successor or afiiliates and Contractor relating to
the subject matter hereof. Any modification of or amendment to this Agreement and/or any Addenda, Attachment, or Schedule
hereto will be effective only if it is in writing signed by the party to be charged.

            18.       NOTICE: Any notice to be given hereunder by a party may be effected by overnight delivery in writing or              by
registered or certified United States mail, postage prepaid. Notices shall be addressed to the parties at their respective addresses
identified below or at such other address as a party may designate by giving written notice in accordance with the provisions of this
Section.




lC Agreement 2013 Master                                              11
      Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 62 of 73 PageID #:150




             19.  REFORMATION AND SEVEMBILITY: lf any provision of fris Agreement shall be invalid, illegal or
unenforceable, it shall to the extent possible, be modified in such a manner as to be valid, legal and enforceable but so as to most
nearly retain the intent of the parties, and if such modification is not possible, such provision shall be severed from this Agreement,
and in either case the validity, legality and enforceability of the remaining provisions of this Agreement shall not in any way be
afiected or impaired thereby.


             n.  ASSIGNMENT: This Agreement shall be binding upon and inure to the benefit of the parties to this Agreement
and their assignees. Dynamex may assign this Agreement, without consent or written confirmation from Contractor, to any
corporation which controls Dynamex, is controlled by or under common control with Dynamex, or to any corporation resulting from
the merger of or consolidation with Dynamex. Provided Contractor is in good standing hereunder, Contractor shall, with thirty (30)
days prior written notice to Dynamex, have the right to assign his/her rights and obligations hereunder to another individual
("Replacement Contractor") who is qualified to provide services of Contractor under this Agreement, and, provided Contractor or
Contractor's representatives continue to provide services under this Agreement up to the effective date of such assignment,
Dynamex shall thereupon enter into a new agreement with the Replacement Contractor on substantially the same terms and
conditions as herein contained. Any consideration to be paid by Replacement Contractor on account of such assignment shall be
strictly a matter of agreement between Contractor and Replacement Contractor unless otherwise agreed by Contractor. Dynamex
shall have no other obligation whatsoever either to secure a Replacement Contractor for the benefit of Contractor, or to assure any
payment to Contractor on account of Contracto/s assignment of this Agreement.


       21. CONSTRUCTION AND REVIEW: lN THE EVENT OF ANY AMBIGUIry lN ANY OF THE TERMS OF THIS
AGREEMENT, INCLUDING ANY EXHIBITS HERETO, SUCH AMBIGUITY SHALL NOT BE CONSTRUED FOR OR AGAINST A
PARTY ON THE BASIS THAT THE PARTY DID OR DID NOT AUTHOR THE SAME. EACH PARry ACKNOWLEDGES AND
AGREES THAT THEY (A) HAVE HAD ADEQUATE OPPORTUNIry TO REVIEW THE TERMS AND CONDITIONS AND TO
REFLECT UPON AND CONSIDER THE TERMS AND CONDITIONS OF THIS AGREEMENT, (B) HAVE HAD THE OPPORTUNITY
TO CONSULT WITH LEGAL COUNSEL REGARDING SUCH TERMS, AND (C) FULLY UNDERSTAND THE TERMS OF THIS
AGREEMENT AND HAVE VOLUNTARILY SIGNED IT.

             lN WITNESS WHEREOF, the parties have executed this Agreement as of the day and year first above written.

ovnnuexffiruc.
By:
                      (Print Name)
Signature:

Address:

City/StateiZip:                                                          city/State/Zip:   liet,       L< flo*       .   i- U ,tS     i




Notice to Contractor: Please keep coov of the Aqreement and all Addenda for vour records.




lC Agreement 2013 Master                                         12
 Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 63 of 73 PageID #:151




                                                         Addendum A
                                                  lndependent Contrrctor Agreement


                                          SERVICE PROPOSAL AND AGREEMENT




                                                                                     shallbe effective on the latest date set forth
         This Addendum A to the lndependent contractor Agreement ("Agreement")
                                                                                        otherwise specified, this Appendix A shall
below and will continue in force until supersedeo or t nJr".il.nt i. triniirtrd.
                                                                                 Uniess
                                          -                " executed Addendum A.
                                              any previously
iuppt.*.nt -   not supersede or replace


1.

                                                                                      ("Engagements') offered to and accepted by
         A.         Unless otherwise agreed to in writing, all service opportunities
                                                                                  of ttle 'contracted services' (or.services") to be
contractor shall be subject to the terms-described below,-lvhich define the scope
                                                                              services.  The parties shall indicate their agreed upon
performed by Contractor, as well as the fees conractor strall charge for such
                           .check
                                    mark" in tn. appropri.te uoi     ir
                                                                      boxes  and, when    applicable, by inserting tre details of the
preferences by placing a
negotiated anangement in the appropriate fields.




  lC Agreement 2013 Master                                           13
     Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 64 of 73 PageID #:152




               Stop Based Fees




               Mileage Based           $                      /mile (one way)
               Fees
                                       $                      /mile (round trip)

                                       $                      /day (Stem only;     RUCust.         )




         B.          For the purpose of calculating "miles from point of origin" for ondemand Engagements, Contractor's location at
tlre time the [ngagement is accepted shall be used, As used above, he term "Large Package" shall refer to any inditidual package
weighirirg 20 hs srrrnore,




lC Agreement 2013 Master                                        14
   Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 65 of 73 PageID #:153




             C.        Either party shall have the right to renegotiate Contractor's service fees and/or terminate any Engagement
  subject to this Addendum A upon 15 days' written notice of intent to do so.


             D.      Contractor may modify or withdraw the above proposal at any time prior to written acceptance by Dynamex.
  Conkactor may bid on other routes or on demand or distribution work brokered and/or subcontracted by Dynamex at anytime by
  submifting a supplemental written proposal. Contractor understands that Dynamex may offer Contractor Engagements baled upon
  the rates agreed upon above and, unless a new rate is negotiated, the rate specified above shall app[          be reduced or
                                                                                                                   [aJmay
  othena/se modified by either verbal or written approval of the Contractor and Dynamex, including the terms of tne Agieement and this
  Addendum). Dynamex acknowledges that the above terms constitute a proposal on behalf of Contractor, and Contractor
  acknowledges that acceptance by Dynamex of this proposal shall not be construed as guaranteeing to Contractor that Dynamex will
  provide Contractor any specific volume of offered work.


            E.        Contractor shall receive a portion of any fuel surcharge received by Dynamex from any Customer in accordance
  with the standard Dynamex fuel surcharge program, if any, in effect from time to time.


  2.        CUSTOMERSPECIFICATIONS

            A.         Subject to the terms of the Agreement, Contractor agrees to perform the Contracted Services in accordance with
  all Customer specifications, including fiose identified below:




           lf the Yes" box is checked, the services for one or more Customer to be serviced by Conhactor requires individuals
performing the Contracted Services to be subject to certain drug and alcohol testing, background checks
                                                                                                              or motor vehicle report
checks.
         .Contractor agrees to comply with the Customer's specificitions by using only drivers ind other personnelwho have satisfied
the requirements specified by the Customer. Prior to performance of tlre CLntracied dervices, Contractor understands that evidence of
compliance with this requirement must be submitted to or obtained by Dynamex.




                                                                                                      EJ,Yesi     tr   No',i,EI'TBD'
           lf the "Yes' box is checked, for security reasons one or more Customers to be serviced by Contractor requires individuals
performing the Contracted Services to wear "security identification apparel' to identify
                                                                                          the individual ai a professional delivery provider
affiliated with Dynamex. When applicable, Contracior agrees to comply with this slcurity requirement by arranging for all personnel
Pgrforming the Contracted Services to wear the proper security identificition apparel. Contraitofs personnel stritt fiave no obligation
to wear or display a security identification badge or apparel at any time other than while on Customeds or its custome/s premisesl


         lf the 'TBD" box is checked, it is unknown whether one or more Customer to be serviced by Contractor requires individuals
performing the Contracted Services to wear "security identification apparel." Accordingly, Contractor
                                                                                                      shall be informed of any such
requirement at the time Dynamex offers and/or Contractor accepts a service Engagement subject to such a security identification
requirement. lf Contraclor chooses to accept an Engagement subject to a Customl/s Security ldentification requirement, Contractor
agrees to abide by the requirement in the manner described in the paragraph immediately above.




 3.        CHARGE BACK ITEMS

           A.        Contractor expressly authorizes the following items to be charged back and deducted from Contractor's service
 fees and/or seftlement payments, as also addressed in the partiei,Agreement:




lC Agreement 2013 Master                                            15
  Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 66 of 73 PageID #:154




                                                       Actual loss up to $1,000




           B.      Contractor agrees that Dynamex may charge back to Contractor any other expenses or cost incuned by
Dynamex for which Contractor is responsible for under the Agreement, this Appendix or is otherwise agreed to by the parties.
Contractor hereby waives any objection to any charge back item unless Conhactor notifies Dynamex of Cdntracto/s disagreement
with such charge back within thirty (30) days of the charge back.


           THIS Addendum A is agreed to by the undersigned parties as of the latest date set forth below.


  DYNAMEX       OPEMTIONS,                  WC

  Dated:                            20



  Signature:



  By/Title:




lC Agreement 20'13 Master                                   16
     Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 67 of 73 PageID #:155




                                                  lndependent Contrrctor Agreement


                                      DOT REOUIRED VEHICLE LEASE AGREEMENT
                                W*F*re"Wfffiffi#iffi&tffiffifiwffitr                       $'t'dl;'iffiiffi


   This DOT Required Vehicle Lease Agreement ("Lease Agreement") is entered into by and between DYNAMEX
OPERATIONS lNC., ("Dynamex" or "Lessee") and                                                ("Contracto/' or
,,Lesso/'),
            as ot ilris _-Oay o   f            ,      20-
                                                        ("Effeciive Date"). This Addendum B, together with the provisions of the
parties' independent Contracior Agreement ("Agreem-nfl, shall constitute the "Lease" required by the United States Department of
Transportation fDOT) regulations at 49 CFR Part 376 ("Leasing Regulations")'

1.        Lease and Use of Equipment. Pursuant to the Leasing Regulations, Contractor agrees to lease to Dynamex the
Equipment identilied below for the provision of DOT regulated services pursuant to the parties' Agreement. Dynamex agrees to
issue to Contractor a "statement of Lease" showing thal tne Equipment is leased to Dynamex, and Contractor agrees to carry the
Statement of Lease on the Equipment at all times. Contractor further agrees that the Statement of Lease will constitute the
                                                                                                                            receipt
forttre Equipment required by the Leasing Regulations.


 #            VEh. Year           Veh. Make/tvlodel                         Vdt- Descriotion                   VIN




2.          Title to and Registration of Equipment. Contractor represents and wanants that Contractor has title to or is otherwise
authorized to contract the Equipment to bynamex, that the Equipment listed below is properly titled and registered, and that the
information in this Lease Agreement is complete and accurate. Contractor also certifies that the Equipment meets the requirements
of all applicable federal, state and municipal laws and regulations.

3.        Selection, Replacement, Addition and Substitution of Equipment. The selection (including number and cargo
capacity), replacement anO addition of Equipment are within the discretion of Contractor, provided that the Equipment is sufficient to
perform'ttre contracted Services and satisfies all other standards agreed upon in the parties' lndependent Confactor Agreement.
bontractor may substitute for the Equipment on a temporary basis, not to exceed 30 business days. Contractor agrees that the
Equipment will meet all DOT requirements as set forth in 49 CFR Part 393 and other safety requirements imposed by law.

4.        ldentification and Marking of Equipment. During the operation of the Equipment for the provision of the Services,
Contractor agrees to mark all Equipment with'atl iOentincation logos, numbers, marks and insignia as required under applicable
federal, statiand municipal regulations, including 49 CFR Part 390. Contractor may, at its option, and will if required by law, mark
the Equipment so as to inOicate to the public thaffie Equipment is owned or operated by Contractor. When Equipment is withdrawn
from Services, or upon termination of the Lease Agreement, Contractor shall be responsible for removing all identification marks and
devices required by law and this Lease Agreemeni, and to remove or mask all such identification marks and devices while operating
the Equipment for any purpose other than providing the Services.

5.       Equipment Maintenance and lnspection. Regardless of the size or weight of the Equipmentteing used by Contractor to
provide Services under the Agreement, Cbntractor agiees, at Contracto/s expense, to have the Equipment maintained and
inspected in accordance with tlie standards specified in 49 CFR Parts 393 and 396, which requires, among other things, that all
vehicles to be periodically inspected, properly lubricated and free of oil and grease leaks, and which forbids operation of a vehicle in
such a condition as is liklf to cause an accident or breakdown. As required by law, Contractor further agrees to provide Dynamex
with documentation of timely maintenance and inspection of the Equipment in accordance with the periodic mandatory vehicle
maintenance and inspection regulations required by any federal, state or municipal agency with jurisdiction over the operations
described in this Agreement, inciuding but not timited to 4-9 CFR Part 396. The parties agree that the periodic maintenance schedule
recommended by the Equipment manufacturer will be deemed to meet the maintenance requirements of this Lease Agreement,
 absent specific federal, state or municipal regulations to the contrary.




 lC Agreement 2013 Master                                             17
      Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 68 of 73 PageID #:156




 q.         Equipment-Related Operating Expenses. Contractor agrees to bear all costs and expenses related to operation of the
  Equipment, whether empty or loaded, including, without limitation, all risks of depreciation, all maintenance (including cleaning and
 washing), fuel, oil, tires, repairs, business taxes, consumption and sales taxes, personal property taxes, ad valorem [axes, fue] and
  road-use taxes, ton-mile taxes, insurance coverage as provided herein, detention and accessoriai services, licenses, permits, vehicle
 inspection fees, vehicle registration renewalfees, base plates, and allhighway, bridge and ferrytolls. Confiactoris'responsible for
 and will pay all of Contractor's expenses related to the loading or unloading of the Equipment. Contractor acknowledges that the
 fees paid for,the anticipated, but not guaranteed, amount of the Serviceiperformed under this Agreement is intenJed to fairly
 compensate Contractor for all such incuned operating costs, and that Contractor is responsible for payment of all its operating costs.
 Contractor agrees to pay all fines, including parking and traffic fines and penalties, imposed for violaiion of any law or regulltion or
 by the DOT where such violation results from the acts or omissions of Contractor or its drivers. Except when the violationlesults, in
 whole or part, from the acts or omissions of Contractor or its drivers, Dynamex will assume the risks and costs of fines for overweight
 oroversize loads when trailers are preloaded and sealed by Dynamex, when loads are containerized, when oversized orovenveilht
 loads are improperly permitted, or when the failer or lading is otherwise outside of Contracto/s control. per 4g CFR j76.\2,
 Contractor is not required to purchase or rent any products, equipment or services from Dynamex as a condition of entering into this
 Lease Agreement,

 7.       -Additional
                        Operating Authority. lf, at any time during the term of this Lease Agreement, applicable state regulations
require Contractor   to obtain intrastate operating authority, Contractor agrees, at its own eipense, to acquire and maintiin such
operating authority and to cooperate with Dynamex in altering the anangements set forth in tfris Agreement to the extent necessary
to ensure compliance by Contractor and Dynamex with any such state regulations, practices and procedures. Unless the partiei
agree othenruise, to facilitate Contractor's payment of licenses, taxes and fees, where'the parties agiee or are required by statute or
regulation, Contractor hereby authorizes Dynamex to pay these charges on Contractor's behalf and to charge bontraitor for any
su9h. payments, together with any expenses incuned by Dynamex in Connection with their payment. Contractor
                                                                                                                    agrees that unlesi
strictly prohibited by law, any licenses, permits, assessments and taxes paid by Dynamex'on behalf of Contractoipursuant to this
subsection may be charged-back to or deducted from any fees payable to ConLacior by Dynamex in accordance with tre terms of
the parties' Agreement.


tRegulations.
       . Compliance with Leasing Regulations.
              Nothing in the provisions
                                                  The purpose of this Section 8 is to conform the Lease Agreement to the Leasing
                                        required by 49 CFR Part 376 is intended to affect whether Contractor or its drivers are
independent contractors or employees of Dynamex or its customer.


.is providing(A)-     Use by Dynamex. The Equipment will be for Dynamex's exclusive possession, control, and use when Confactor
              Services under this Agreement.
                                           Dynamex will assume complete responsibility for the operation of the Equipment for the
duration of the Agreement as required by 49 CFR Part 376. While the Equipment is on bynamex premises, Contractor
                                                                                                                      agrees that
Dynamex    will have access to the cargo areas of the Equipment for the purpose of loading and unloading packages, scanning
packages. and verifying Dynamex's load condition and accuracy. Notwithstanding the provisio=ns
                                                                                                    of this Section 8(A),-Dynamex wiil
have no right or authority, without the consent of Contractor, to operate the Equipment for any purpose.

             (.B)   Use by Contractor. Contractor may use the Equipment for other commercial or personal purposes, provided that
during such times, Contractor removes or masks Dynamex's DOT number and all logos, marks and insignia identifying Dynamex,
and provided further that such use is in compliance with 49 CFR part 376.

9.          Term and Termination. This Lease Agreement shall commence on he Effective Date and shall remain in effect for an
initial period of at least sixty (60) days and continue thereafter until terminated as provided herein or upon
                                                                                                               termination of the parties'
lndependent Contractor Agreement.

LESSEE: DYNAMEXOPERATTONS_                        lNC.                      LESSOR: Contrac'tor

By:                                                                         By:

Signature:                                                                  Signature:

Address:                                                                   Address:

City/State/Zip:                                                            City/State/Zip:




lC Agreement 2013 Master                                           18
  Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 69 of 73 PageID #:157




                                                            Addendum G
                                                   lndependent Contractor Agreement

                                                                                     Form
              Worker's Compensation And/Or OccupationalAccident Designation/Election
                                                                                  shall be effective on the latest date set forth
         This Addendum c to the lndependent contractor Agreement ("Agreement")
                                                                   is terminated,
below and will continue in force until superseded or the Agreement

                                                                                        proprietorship/partnership/S Corporation/C or
          Contractor hereby attests to be duly and properly organized as a,sole
                                                                                   by the parties' lndependent contractor Agreement
corporation/LlC in the staie wtrereinttre maloiity of th. b.rii..r"contemplated                                                      by a
are to be performed. By the initials and designations betw, contractor
                                                                        furiher atteits tnat it (including its.Personnel) is covered
                                                                                                 an  occupational   Accident  ("occ/Acc")
worke/s compensation lnsurance policy or, if permitted by hw, _contractor.maintains
                                                                                                                as designated and agreed
lnsurance policy, including asmay be offered and prnnm.o lli.;gil oynrr.*', insurance brokerharrier,
upon below.

Contractor designates/elects the following options: (mark )NLY one)

        (initial)      Contractor has procured Worke/s Compensation: Canier:

                       Policy number:                                       Expiration Date:



         (initial)     Contractor has procured Occ/Acc lnsurance independently: Canier):

                       Policy number:                                       Expiration Date:



                                                                                           occ/Acc lnsurance from Dynamex's insurance
         (initial)     contractor, through the undersigned, hereby elected to purchase
                                                                                   and  application   (Consultation with your own insurance
                       brokerhanier, as detailed further in the polidy documents
                       professional is recommended before     ..r..tiig inii option.)     executtng    this Addendum C, Contractor hereby
                                                                                      .Bi
                                                                                                  feds and/or settlement payments any and
                       authorizes Dynamex to automatically OeOuJ fiom Contractb/s service
                                                                                       policy.  Contractor   further understands and agrees
                       all costs and administration fees incurred ,nO.i ttr. Occ/Acc
                                                                          L              entitled  to pursug   workers. compensation claims
                       that, as an indfi;e;;i contractor, Contractor         not legally
                                                                                            to indemnify Dynamex for all costs incuned in
                       through or against Dynamex or its customers,-rnO t rtt .i.grees
                       successfully defending against any wo*ersi#penrition itui,
                                                                                            or dispute filed or submitted by Contractor (to
                       the extent allowed bY law).




     Contractor

     Dated:
                     OCTOBER 31               ,zo t+
     DBA/Name: KEVIN P. WHEELER

     Signature:

                     INDEPEADENT        C   OI{7B,ACT O R
     By/Title:




  lC Agreement 2013 Master
                                                                       19
      Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 70 of 73 PageID #:158




                                                            Addendum D
                                                     lndependent Contractor Agreement


                              OPTIONAL COMMUNICATION EQUIPMENT RENTAL AGREEMENT

             This Addendum D to the lndependent Contractor Agreement ('Agreement") shall
                                                                                         be effective on the latest date set                                  foffi
   below and will continue in force until superseded or the Agreemlnt is terminaieo.


   1'         Purpose. The parties recognize that in the modern era, the recording and transmittal of information regarding
                                                                                                                                 the
   movement of cargo is a central component of any transportation service, including
                                                                                     Engagements Contractor agrees to perform for
   any Customer pursuant to the Agreement, Contractor therefore agrees to recoriland-trinsmit
                                                                                                 the shipping and other information
   required by Customers using a Mobil Data Unit compatible with Dynimex's
                                                                           and/or the Customer's currenisystem (hereafter.MDU,').

   2'       Contractot's Designdion. Contractor represents that it will provide the MDU(s) needed to perform
                                                                                                             the Services in the
   manner designated below, and specifically agrees to the terms set forth
                                                                           in the designated option.

   IDESIGNATE ONLY ONE 0F THE FOLLOWNG OPT|ONS By CHECKING THE AppROpRtATE BO)GS.I



                                                                                                  /.,.,,,, ,:.   .::1   t : .:. t. .:r   a. :t:   .. : ,::.

 Contractor shall provide all necessary MDU(s) and data plans for performance
                                                                              of the Services, and shall bear                                tre cost and
 responsibility of fumishing the same.


 contractor voluntarily elects to purchase the following communication plan:

            tr   Technology charge      oNLy   $0,!q per bi-neekry setilement pedod

            tr   Technology and scanner rental: $-!!1.09 per bi-rrrcekly setilement period

 MDU Model:                                        Serial Number:

Cradle issued: Yes   _         No   _
By executing this Addendum, Contractor hereby authorizes Dynamex
                                                                    to automatically deduct from Contractor,s service fees and/or
settlement payments any and all fees and costs associated with Contractor's
                                                                            MDU rentals and communication plan.




                                                                                                  EI,Ye$:'EI,.No

Contractor voluntarily elects to rent MDU(s) ldentified below:


MDU   One:           Modet:                                      Phone Number:

                     Cradte issued (y or N)   _.    Auto Charger (y or N)   _,
                                                                             Case (y or N)
MDU   Two:          Model:                                     phone Number:

                    Cradle issued (Y or   N)_.     Auto Charger (y or      N)_,   Case (y or N)

                    fldentify additional scanners on separate form]

Contractor voluntarily elects to purchase the following communication
                                                                      and equipment lease plan for each Scanner rented:




 lC Agreement 2013 Master
                                                                      20
    Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 71 of 73 PageID #:159




            tr Data ONLY: $39.00 per bi-weekty settlement paiod
            tr   Data   ard Push-to-Talk: $4i!J0 per bi-weekly settlement period

By executing this Addendum, Contractor hereby authorizes Dynamex to automatically deduct ftom Contracto/s service fees and/or
settlement payments any and all fees and costs associated with Contractor's MDU rentals and communication plan.




 3.          Rental Terms. ln the event Contractor elects to rent one or more MDU ("equipmenf) from Dynamex, the following
 additional terms shall apply:


             (A)     No deposit(s) shall be required as security against loss or damage to the equipment, however, Contractor shall
 be responsible for all loss and damage (other than regular wear and tear). ln the event the equipment is lost or stolen, Contractor
 agrees to reimburse Dynamex the fair market value of the lost or stolen equipment. The respectlve amount shall be refunded if the
 lost or stolen equipment is subsequently retumed. lf any of he equipment is not in good working order or is returned damaged or
 with undue wear and tear, the equipment shall be repaired to its condition as of the time it was provided to Contractor and the costs
 of repair shall be bome by Contractor. Contractor understands and acknowledges that this is a rental agreement and Contractor
 shall gain no ownership in the rented equipment.


            (B)         This agreement may be terminated by either party at any time, after which Contractor shall retum all of the
 equipment within 48 hours of termination.


            (C)      Contractor agrees to abide by all govemment regulations in respect to the use of the equipment. Contractor shall
 promptly report to Dynamex any malfunction in the equipment.




   DYNAMEX OPERATION               S.W                INC               Contractor

   Dated:                                2Al;:i:t::                     Dated:                             ,20


  Signature:
                                                                        Signature:

  Byffitle:                                                             ByIl'itle:




lC Agreement 2013 Master                                          21
     Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 72 of 73 PageID #:160




                                                         Addendum E
                                                  lndependent Contractor Agreement


                                             FMCSA REGULATORY COMPL IANCE
                                 {w1
              This Addendum E to the lndependent Conhactor Agreement ("Agreement") shall be effective on the latest date set forth
    below and will continue in force until superseded or the Agreement is terminated.

    1.       Contractor'sCompliancewithFMCSRRequirements.

             (A)     Contractor owns, operates or othenrvise controls one or more commercial motor vehicles ('CtM) leased to
and/or operated under the DOT motor canier authority granted to Dynamex Vehicle'), and, therefore, enters into this Addendum E
                                                                             f
to affirm its agreement to comply with all applicable riOerat Motor ianier Sitety negutitions ('FMCSd").

             (B)        By signing below, Conkactor represents and acknowledges that Contractor: (A) has access to and is - and will
-     remain, familiar with the FMCSRs; and (B) understands that statements contained in this Addendum E (and in the attached copy
of the "Vehicle lnspection, Repair and Maintenance Guidelines," (referenced below) concerning or summarizing the contents of thi
FMCSRS are for general reference purposes only and that the FMCSRs themselves should be consulted for the full, complete and
accurate statement and meaning of the related regulations.

             (C)      Contractor further acknowledges it understanding that the FMCSRs apply to CMVs operated by caniers of
property involved in interstate (or foreign) commerce that:


                 .    Have a gross vehicle weight or gross combination weight rating ("GVWR1I of more than 10,000 lbs, and/or
                 r    transport Hazardous Materials which require placarding.

            (D)       Dynamex strictly adheres to all DOT and FMCSA regulatory requirements. Pursuant to these and other related
federal laws and regulations, Dynamex is required to assure that all Vehicles and their drivers are in full compliance with the same.
Contractor's failure to comply with FMCSRs or Dynamex's guidelines constitutes a Material Breach of the parties' lndependent
Contractor Agreement. The "attached" copy of the "Vehicle lnspection, Repair and Maintenance Guidelines; is provided for the
purpgse of ensuring complete understanding and agreement to the parties' respective duties under federal transportation law and
regulations , including the vehicle-related requirements in the FMCSRs.

            (E)    Contractor's failure to comply with FMCSRs may result in a violation that subjects Dynamex and/or Contractor to
         issued by federal, state or local agencies, fines, vehicles being ptaced OUT-OF-SERV|CE anO'a SAFETY AUD|T, A
1gilalon
COMPLIANCE REVIEW and/or a direct intervention by the USDOI.

2.          Contractor's Compliance Requirements Applicable to Govemment Contrmtors/Subcontractors.

            (A)     To the extent Contractor agrees to perform any Engagement involving Services covered by the federal laws and
regulations applicable to federal govemment contractors and subcontractors, Contractor further agrees to:


                     (i)       comply with the United States Department of Transportation Leasing Regulations at 49 CFR Part 376;

                     (ii)      comply with Executive Order 11246, "Equal Employment Opportunity" (Exec. Order No. 11246, 30 CFR
12319), and all applicable laws, rules, regulations and other governmental requirLments ielatlng to equal opportunity, affirmative
action and fair treatment of employees;


                     (iiD      comply with the Federal Drug Free Work Place Act (41 USC 701, et seq.), and all associated
regulations;



I pVWR is determined by the rating
                                   on the manufacturer's plate mounted on the vehicle. Registered weights on state regishations
will not be considered.




lC Agreement 2013 Master                                          22
   Case: 1:16-cv-05591 Document #: 1 Filed: 05/25/16 Page 73 of 73 PageID #:161




                             (iv)                 comply with the Service Contract Act of 1965 (41 USC 351, et seq.), and all associated regulations;

                             (v)                  comply with ffre Aviation and Transportation Security Act of 2001 (49 USC 401, et seq.), and all
associated regulations; and

                             (vi)
                                comply witt Executive Order 12989, as amended, and all associated govemment regulations.
Specifically,     ISP Name]understands and agrees to the requirements of 48 CFR52.222-54, including those requirements
summarized below:

              (B)    To he extent legally required, Confactor further agrees to comply with any and all requirements relating to the
use of the E-Veriff program for Contractor's employee personnel; and, upon request, to provide evidence of such compliance to
Dynamex.




  DYNAMD(              OPERATIONS                                         INC              Contractor

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lC Agreement 2013 Master                                                            23
